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EXHIBIT 1 – CITED PAGES
 FROM DEPOSITION OF
  ALISON O’DONNELL
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                Transcript of the Testimony of
                     Alison O'Donnell
                          Date: August 4, 2017

  Case: Alison O'Donnell v. University Hospitals Health System,
                             et al.




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1             Q.       So all set to go forward?
2             A.       Yes .
3             Q.       Let me just ask you, are you on any
4         medications today that could impact your ability
5         to testify truthfully?
 6            A.       No.
 7            Q.       Are you on any prescription medications
 8        at all at this time?
 9            A.       Yes .
10             Q.      What are those?
11            A.       I'm on Cymbalta and Ativan.
12             Q.      Cymbalta and Ativan?
13             A.      Yes .
14             Q.      And what are those, in general,
15         prescribed for?        What general -­
16             A.      Generalized anxiety disorder.

17             Q.      Okay.
18                     How long have you been on -- I know that
19         medications           the names change and whatnot.             How
20         long have you been on prescription medications for
21         generalized anxiety disorder?
22             A.        I don't remember the exact date, but I
23         can tell you it's been at least ten years.
24             Q.        Okay.
25                       And I guess, over those ten years, has it


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 1        but that sometimes changes.
2             Q.       If you're typically going in for a 2:00
 3        p.m. to 10:00 p.m. shift, are you taking an
4         Ativan?
 5            A.       Not usually.
 6            Q.       So what would come up at work that you
 7        might say, Hey, I need to take an Ativan?
 8            A.       If I have to do a presentation in front
 9        of somebody.
10            Q.       Okay.
11                      So it's more of, I guess,          for you, the
12        anxiety increases if it's a matter of speaking in
13        public or to groups?           Where would you classify it.
14        I guess?
15            A.        That's one of the triggers of my anxiety.
16             Q.       Do you have certain triggers that you
17        know -- when you say one of, what is that?
18            A.        Well, can I explain my anxiety disorder?
19             Q.       Yes.
20             A.       My anxiety disorder is generalized
21        anxiety, it's a chronic condition, and it affects
22         several of my major life functions, such as
23         speaking, thinking, and communicating.
24                      So my anxiety kind of -           the symptoms of
25         it and the intensity varies depending on the


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 1        situation.          And it can be triggered by certain

2         things.      Some of the triggers that tend to happen

 3        for me are speaking in groups, meeting new people,

 4        engaging in a verbal disagreement with somebody.

 5        Those things tend to make my anxiety ramp up.

 6                     And then when I do get these anxiety

 7        symptoms,     they become physical,           So I might get

 8        dizziness, blurry vision, nausea, vomiting.

 9        sweating,      tremors,    difficulty find my words,             and

10        I'll stutter.

11                      So those kind of things make it difficult

12        for me to participate in certain things.                   For

13        instance,      like, when I was in the fellowship

14        program,      I had a hard time speaking up during the

15        divisional conferences due to my anxiety, and they

16        were compounded by some of the abuse and

17        discrimination that I was suffering,                as well.

18             Q.       Okay.     We'll get into that.         And let's

19         just focus on -- I guess,           thank you for the

20         triggers with that,        and those things.

21                      So,    I guess, my question to you,          just

22         from that, when you say -- and let's just focus on

23         -- when we're talking about,            like, meeting new

24        people,     speaking in groups,         I think you said

25         disagreement with people.


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 1            A.       Yes.
 2            Q.       I assume speaking in groups would include
 3        speaking publicly to a group?
 4            A.       Yes .
 5            Q.       As well as a group discussion?
 6            A.       Right.
 7            Q.        I just want to understand the triggers.
 8        With that, are you able to do those things if you
 9        take your Ativan or no?
10            A.       Mostly, I'm able to.
11            Q.       Mostly able to?
12            A.        Yes .
13             Q.      When you say mostly able to, meaning
14        what?
15            A.        Meaning the situation is so intense that
16        sometimes medication alone won't do it.
17             Q.       Okay.
18                      So sometimes you say, I just               simply,
19        that is something I can't do?
20            A.        Right.
21             Q.       How about, just so I understand what your
22        restrictions are, I guess,             If I said. Hey, I've
23        got a hundred physicians, I want you to come out
24         and give a presentation to, for an hour                  is that
25         something you could do?


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 1            A.        If I was comfortable with the topic and
 2        if the audience was civil and respectful of my
 3        presentation, yes.          But if they're going to be
 4        heckling me and yelling and screaming, then
 5        probably not.
 6            Q.       How about if I said that we're going to
 7        sit down and we're all going to talk about -                    I' ve
 8        got ten physicians and we're all talking about our
 9        careers, and I want you to come in and we're all
10        going to talk about the pluses and minuses of
11        being a doctor, could you do that?
12            A.        I would not enjoy it, but I probably
13        could make it through.
14            Q.        Okay.
15                      How about if something happened -              this,
16        obviously, is a physician, no different than a
17        lawyer.       Sometimes we want everything to work
18        great, but sometimes an issue could come up with a
19        patient or something like that.
20                      How about if we said. Hey, Dr. O'Donnell,
21        we want you to come in.            We've got the parents of
22        the child, we've got their attorney, we've got our
23        attorneys, and we're all going to talk about what
24        you did and what you didn't do.               In that meeting.
25         they're going to ask you questions.


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 1        guess,       this,      just so I understand it.      It looks to

2         me that your time at UH was 2010 -- and I guess

 3        maybe this is a good time.               I'll just put in these

 4        contracts.
 5

 6                             (Thereupon, Deposition Exhibit 2,

 7                             University Hospitals Contracts, was

 8                             marked for purposes of

 9                             identification.)

10
11               Q.       I've handed you what's been marked as

12        Exhibit 2.           Anything I give you, you're welcome to

13        take as much time as you'd like to look through

14         it.        On these,     it looks to me as if these are your

15        two contracts with the fellowship program at UH.

16        And one of them               the last two pages I see are

17         from July 1,           2010 to June 30,    2011.

18                        Do you see that?

19               A.       Yes .

20               Q.       And then the front one is the second

21         contract from July 1,            2011 to June 30,     2012;   is

22         that right?

23               A.       That's correct.

24               Q.       So from that,      I guess,     just to put         I' m

25         not trying to trick you or anything.                 But just to


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 1        put the dates of your fellowship,                I saw it
 2        started, can we say July 1, 2010?
 3            A.       That's reasonable.
 4            Q.       Although you didn't have a second
 5        contract, I take it that your -- you went on a
 6        leave of absence, and I'm not saying that you
 7        asked for it, but you went on a leave of absence
 8        from July 1, 2012, right?
 9            A.       That's correct.
10             Q.      And then you eventually resigned,                I want
11        to put that in so we have it for the record.
12
13                          (Thereupon, Deposition Exhibit 3,
14                         December 16, 2012 Resignation
15                         Letter, was marked for purposes of
16                         identification.)
17
18             Q.       You eventually -        if we look at Exhibit
19         3, you eventually resigned on December 16, 2012 ,
20         right?
21             A.       Correct.
22             Q.       So if we put the time frames of the UH
23         fellowship, we're talking July 1, 2010 through
24         December 16, 2012, right?
25             A.       That's correct.


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 1         testimony was, when we were talking about
 2        paragraph 2, that when she says, in the last one
 3         to two years it became more intense, you said
 4         there was some work issues.
 5             A.      Not so much work issues.            But being a
 6         physician is a stressful job, and being
 7         unmedicated just became a lot for me.                 So that's
 8         why I decided to go back on the medication.
 9             Q.      Did you         I guess, without the
10         medications, did you have restrictions?                  Were you
11         not able to give speeches?             Or what were you able
12         to do or not do?
13             A.      Well, that job didn't require me to give
14         speeches.
15             Q.        Okay.
16                       But was there anything that you couldn't
17         -- was there anything, without the medication.
18         that you couldn't do?           Would you, for example, not
19         be able to talk in a group setting?
20             A.        No.     But once again, that wasn't required
21         of me.     But I wouldn't have been able to do it if
22         they had asked me to.
23             Q.        Okay.
24                       So let's look at her third paragraph, and
25         it goes through a little bit of the -- some of


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 1         anxiety.      I'm not sure about the panic disorder,
2          However, she's the professional.
 3             Q.      And she says it's a long history of them
4          both.    She told you that not only do you have
 5         those two diagnoses, but she believes you've had
 6         them for a long time?
 7             A.      She has told me that.
 8             Q.      Has she told you what she means by panic
 9         disorder?
10             A.      That I can have         - my anxiety can get so
11         severe that it can present as a panic attack.
12             Q.      Okay.
13                     What's an SSRI?
14             A.        Selective serotonin reuptake inhibitor,
15         which is class of medications like Zoloft and some
16         of the other medications commonly prescribed for
17         anxiety.
18             Q.        Okay.
19                       And it says you've done better with the
20         change to your new job in an urgent care center.
21         And, I guess, let me just ask you, since leaving
22         UH, December 2012.          Let's go through, you've been
23         at Akron Children's for how long?
24             A.        Since April 1 of this year.
25             Q.        And before that?


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 1             A.      Immediately after I was placed on leave,
2          I signed up with a locum tenens, a temporary
 3         agency, and they placed me with a company called
4          ONE Health Ohio, who hired me on that following
 5         spring.     And I stayed there until February 10 of
 6         this year.
 7             Q.      Of 2017?
 8             A.      That's correct.
 9             Q.      Okay.
10                     And did they only have you at ONE Health
11         Ohio or where were you at?
12             A.      That was the only place I was at.
13             Q.        So I take it that she's saying the change
14         in new job had improved,            Were you having problems
15         at ONE Health Ohio?
16             A.        No.     It just was a very poorly-run
17         company and I was overloaded with work.
18             Q.      And, I guess, my question is:              Was it
19         causing the anxiety or was it just simply you
20         didn't like the job?
21             A.        I would say, mostly, I just didn't like
22         the job.
23              Q.       Okay.
24                       So let me ask you then             I've seen
25         Dr. Rosenberg            and I think I understand, but


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 1             A.      They don't have those at Akron
2          Children's.
 3             Q.      Okay.
 4                     So Akron Children's, it's physicians who
 5         are caring for the patients?
 6             A.      That's correct.
 7             Q.      And do you have any work restrictions at
 8         Akron Children's?
 9             A.      No.
10             Q.        So you don't have any type of -- there's
11         nothing that comes up that you have to say, Hey,                    I
12         don't want to deal with that?
13             A.      Well, I did inform them of my disability
14         at the time of my employment and they've
15         accommodated me without me having to make any
16         specific requests.
17             Q.      And, I guess, did you do that in writing
18         or orally?
19             A.        Both.
20             Q.        Both.   Okay.
21                       So tell me, in general, if I'm hiring you
22         to come in as a physician and I'm your supervisor,
23         tell me what you're going to tell me about your
24         disability and restrictions?
25             A.        I'd say that I have generalized anxiety


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 1         somebody says, Hey, I don't think you performed
2          well or I disagree with you, does that cause
 3         anxiety?
4                A.    It can, to a degree.            Sometimes.
 5               Q.    Okay.
 6                     And, I guess, what do you do -- do you
 7         say I'm just not going to participate in that or
 8         what would happen?
 9               A.    No, I would do my best to participate.
10               Q.    Okay.
11                       So today at Akron Children's, you don't
12         think you have any restrictions?
13               A.    No.
14               Q.      You haven't had any issues that have come
15         up?
16               A.      No .
17               Q.      Now, let's talk about            and, I guess,
18         with benefits, $230,000 salary, your benefits are
19         what?      Medical and 401K?
20               A.      Medical, dental,        I'm sure there's a
21         retirement plan there, but I'm not sure exactly.
22               Q.      Is the insurance through you or your
23         husband?
24               A.      Both.     I'm insured         me and my son are
25         under mine.          And Akron Children's requires my


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 1         husband to carry his own, and he's secondary on
 2         ours .
 3             Q.      So that's Akron Children's.             So you
 4         advise them of your disability, but you don't have
 5         any work restrictions and it's never come up?
 6             A.        Correct.
 7             Q.        So let me talk about your employment at,
 8         I'm just going to call it Ohio Health, okay?
 9             A.      Okay.
10             Q.        So Ohio Health from February -- well,
11         actually, it was from 2012, right?
12             A.        Urn-hum.
13             Q.        Through 2017?
14             A.        Well, technically,        I worked there, but I
15         wasn't their employee in 2012.
16             Q.        I get it.     I know.     I'm just calling it
17         Ohio Health.
18             A.        Sure .
19             Q.        You were assigned there by a temporary
20         agency?
21             A.        Yes .
22             Q.        What were you doing for Ohio Health?
23             A.        I was acting as a general pediatrician.
24         I just saw children in the office as an outpatient
25         only.


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 1             Q.      Okay.
 2                     And where was your location?
 3             A.        Initially, they had me moving to several
 4         locations within their organization.                 I was in
 5         Warren, Youngstown, and Alliance.               But eventually
 6         I was just in Warren.
 7             Q.      And, I guess, with that, as to what was
 8         your rate of pay when you left?
 9             A.      When I left, I can't remember exactly,
10         but I want to say it was approximately 165,000.
11             Q.        How about when you started?
12             A.        It was significantly less than that, but
13         I can't remember exactly.
14             Q.        Over 100,000?
15             A.        Yes .
16             Q.        Did you have benefits?
17             A.        Yes .
18             Q.        And did you have problems at Ohio Health?
19             A.        Not directly,      Towards the end, the
20         company was making some decisions, which I felt
21         was unethical for the patients, so that was one of
22         the things that prompted me to leave.
23             Q.        Like what, just in general?
24             A.        They had some old vaccines that they
25         wanted to give to the patients and were


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 1         misconstruing them as the new and updated version.
2          And would tell the parents that the child was
 3         getting the new vaccine, but would really be
4          getting an old one.
 5             Q.      Okay.
 6                     And then as to Ohio Health, did you have
 7         any restrictions while you were there?
 8             A.      Not for my anxiety, no.
 9             Q.      And did you have any problems with your
10         anxiety at Ohio Health?
11             A.       I did have anxiety symptoms, but I was
12         able to function at my job.
13             Q.       When you say anxiety symptoms, meaning
14         what?

15             A.        I would sometimes stumble over my words,
16         have difficulty getting out what I wanted to say,
17         sweating, tremoring, shortness of breath, nausea.
18             Q.        So you worked there, then, for five
19         years.     You didn't need any accommodations.
20             A.        Right.
21              Q.       Okay.
22                       So, I guess, just on this, at the
23         beginning, I know that you certainly have read
24          some of the law because you're telling me about
25         your major life activities and all that kind of


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 1         stuff.
 2             A.      Yes .
 3             Q.      Do you agree or disagree that there's a
 4         lot of people in the world that would not want to
 5         give a speech to a large group?
 6             A.      Well, I agree with that, however, my
 7         symptoms are much more intense than the average
 8         person.
 9             Q.      Just answer          I'm not yet questioning
10         any of that.        I'm just trying to get -           you
11         understand that speaking in front of large
12         groups
13             A.      Yes .
14             Q.      Lots of comedians make jokes about,
15         there's lots of people who don't want to do that?
16             A.        Exactly.
17             Q.        There's lots of people that -- nobody
18         likes to be criticized, right?
19             A.        Right.
20             Q.        I mean, if all of a sudden, I sat down
21         and Fred and three of my partners sat down and
22         said. Let's tell you everything that you've done
23         bad as an attorney and how you can improve.
24                       Nobody likes that, right?
25             A.        Right.


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 1             Q.      I mean, I might like to argue with them
2          about it and say you're crazy, but nobody is going
 3         to really enjoy that, right?
 4             A.      Right.
 5             Q.      And then if you do get into a difficult
 6         situation, again, nobody is going to enjoy that,
 7         right?
 8             A.      That's correct.
 9             Q.      And, I guess, if I look at it, today
10         you're what, 32?
11             A.      No, I'm 39.
12             Q.        39.    Okay.   So, really, for 29 years, you
13         went through life without any medications, right?
14             A.        Yes, but I was definitely impaired
15         without it.
16             Q.        But at those points in time, you weren't
17         seeing a psychiatrist, right?
18             A.        That's correct.
19             Q.        You weren't seeing counselling every day.
20         right?
21             A.        That's correct.
22             Q.        Did you have any care for your first 29
23         years as to any of these issues?
24             A.        Yes.    I mean, I will preface this by
25         saying, my parents, even though they're doctors,


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 1         to get actual treatment, I take it, was when you
 2         were in the residency program?
 3               A.    It was.
 4               Q.    So you had gone through high school,
 5         undergrad, and medical school, right?
 6               A.    Yes .
 7               Q.    And you were able to get through all of
 8         those and presumably excel.             You went to residency
 9         at Cleveland Clinic, right?
10               A.    That's correct.
11               Q.      I assume to match there wasn't easy.
12         right?
13               A.      I don't know.
14               Q.    You don't know.         Okay.
15                     You don't think that was a good match or
16         no?
17               A.      I was very happy with the match, but I
18         honestly can't tell you whether or not -­
19               Q.      What medical school did you go to?
20               A.      I went to Case Western.
21               Q.      So you went to Case Western.            And so for
22         29 years you get through with no medication.                    Then
23         you get to the residency,            And I'm assuming the
24         residency, at that time, there were times that you
25         had to answer questions or speak up in group


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 1             Q.      Okay.

 2                     Did you have any accommodations or

 3         restrictions during the residency program?

 4             A.      No official accommodations, but my

 5         attendings recognized that I had some form of

 6         anxiety going on,        and they accommodated me for it.

 7             Q.      How so?

 8             A.      They recognized that              they were the

 9         ones who suggested I go get evaluated because of

10         my symptoms.        And they would recognize when I was

11         starting to have anxiety issues and would offer me

12         breaks,    if necessary.

13             Q.      Meaning what -         I guess, with the

14         attending,      just so I understand the residency.

15         Were there times when they would have you give

16         treatment to a patient?

17             A.        Oh, no.    I was able to always perform my

18         clinical duties.         Like,   for instance,       if I was

19         presenting something, and they saw that, maybe,                    I

20         was getting a bit too anxious,              they would say.

21         Take a breath,       relax, and then try again.

22             Q.        I'm just trying to understand the

23         residency program,          Is there times when they would

24         watch you or be with you when you gave treatment?

25             A.        Generally, no.


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 1         Cleveland Clinic residency, you were prescribed
 2         the medication?
 3             A.      Yes .
 4             Q.      And so let me ask you as to that.               Was
 5         there       did you ever get any documented
 6         performance issues during the residency program?
 7             A.      Not that I remember.
 8             Q.      Any oral issues about, Hey, these are
 9         problems and we need to be able to fix them?
10             A.      Well, all residents get that,              I mean.
11         that's part of the residency,               They point out the
12         mistakes that you're making and you're expected to
13         correct them.
14             Q.       Well, how about as to these issues, about
15         being able to speak in groups or answer questions
16         or give discussions in front of a group?
17             A.       I don't remember.
18             Q.       Did those come up?         You don't remember.
19             A.       No .
20             Q.       If you were to, I guess              if we were to
21         get that file or look to anybody, you don't
22         remember if there was any, like, performance plans
23         or anything that was of a disciplinary nature?
24             A.       I don't believe so.
25             Q.       You don't believe so.


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 1             A.      Last I heard, he was still at the Clinic,
2          but I know he was planning to retire soon,                   So I
 3         don't know if he's done so yet or not.
 4             Q.      Do you know what the rate of pay is at
 5         the Clinic for an endocrinologist?
 6             A.      I do not.
 7             Q.      Do you think it would be higher or lower
 8         than $229,000?
 9             A.        I don't know.      I know, typically,
10         academic programs tend to pay a little bit less.
11         But endocrinology, overall, pays more than general
12         pediatrics.
13             Q.      But you don't know if it would have been
14         more than $229,000?
15             A.        I do not.
16             Q.      And, I guess, you do know that, in
17         general, if it was more from -               more the
18         educational side, it might be lower?
19             A.        It might be, yes.
20             Q.        Because, I take it, you're not bringing
21         in as much revenue through the patients?
22             A.        That and just, you get the perks of being
23         in a big system,          So, in general, some of the
24         bigger hospitals tend to pay less than some of the
25         community places that, potentially, doctors could


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 1             Q.      Okay.
 2                     So the fellow program, just so I'm
 3         understanding it, and with that, how long between
 4         you getting out of the residency program and going
 5         to the fellow program?
 6             A.      I took a year off to do some urgent care
 7         work, and then I went into the fellowship program
 8         the following spring.
 9             Q.      Did you apply to other fellowship
10         programs?
11             A.      No.
12             Q.        So in UH       on the fellowship program, do
13         the physicians. Dr. Uli and the other physicians,
14         do they have to certify you in some manner?
15             A.        Certify at the end of the program?
16             Q.        Yes .
17             A.        Yes, they do.
18             Q.      Are they signing off saying that
19         graduates of the program meet certain conditions?
20             A.        Just that they've completed the
21         requirements of the program, which are national
22         standards that they have to sign off on.
23             Q.        So you do agree that there are                I mean.
24         those physicians, in order to bring value to the
25         fellowship program, those physicians are trying to


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 1         uphold certain standards, right?
 2             A.      I don't know that those physicians are.
 3         But, in theory, yes, there is a standard that
 4         should be upheld.
 5             Q.      Well, and if it's not upheld, nobody is
 6         going to go into the fellowship program because
 7         it's not going to bring any value, right?
 8             A.        I would say so, yes.
 9             Q.        I mean, they want to have the fellows out
10         there, under the UH fellowship program, I'm
11         assuming they want to have them excelling in their
12         career paths so then people say, I want to go into
13         the UH fellowship program and be like
14         Dr. O'Donnell, right?
15             A.        I don't know about that.
16             Q.        You don't know that.          Okay.
17                       Well, you do know that they have to put
18         their signature, if you were going to graduate,
19         they'd have to put their signature saying that you
20         meet those national standards?
21             A.        Yes .
22             Q.        And you don't disagree that in one way,
23         shape, or form, you have to meet those standards
24         in order to get through the fellowship program?
25             A.        I agree with that.


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 1             Q.      And everybody who is in the program have
2          to meet those standards?
 3             A.      Everyone should meet those.              I don't know
4          that everyone is.         But, yes, everyone should.
 5             Q.      Everyone should with that.
 6                     And so, I guess, what you're saying is
 7         that if you would have gotten through the program,
 8         it would have impacted -- I guess, you would have
 9         been an endocrinologist instead of urgent care?
10             A.      Yes .
11             Q.      And as we sit here              and I guess you say
12         that there was some job at the Cleveland Clinic
13         that you were intending to accept?
14             A.       Yes.
15             Q.        So if we check with the Cleveland Clinic
16         on what endocrinologists earn, we would have a
17         pretty good understanding of what you would have
18         been accepting right out of the fellowship
19         program;9
20             A.        That's correct.       Of course, that's not to
21         say that I would have stayed there,                 But, yes, I
22         would have started off there.
23             Q.        And so I take it that in order to
24         well, let me ask you, then, a little bit more
25         about the fellowship program and about UH as to


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 1         it,    in general.

 2
 3                          (Thereupon, Deposition Exhibit 4,

 4                          University Hospitals Policy &

 5                          Procedure, was marked for purposes

 6                          of identification.)

 7
 8               Q.    Handing you what's been marked as Exhibit

 9         4.     And I assume that you are familiar with

10         University Hospitals          discrimination and

11         harassment policies?

12               A.      I am.     However,    this one looks different

13         from the one that I had in the handbook from the

14         time that I was there.

15               Q.      Okay.

16                       How SO,    I guess?

17               A.      Just the font and everything is

18         different.       I don't know if the material

19         information is different.             But this is not the one

20         from the time that I was in the program.

21               Q.      Okay.

22                       My only question to you is:            You

23         certainly knew that,         at least,       the written

24         policies at UH prohibited all forms of

25         discrimination?


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 1             A.      Yes .
 2             Q.      You certainly knew that there was a
 3         complaint procedure if you believed you were the
 4         victim of discrimination?
 5             A.      That's correct.
 6             Q.      You knew that the written policies
 7         prohibited all forms of harassment, right?
 8             A.      Yes .
 9             Q.      And you knew that if you believed you
10         were the victim of harassment or saw somebody else
11         being the victim, that you could complain, right?
12             A.        Yes .
13             Q.      And I believe through the charge, I saw
14         that you had provided, as part of your position,
15         some of the policies that showed that UH does
16         accommodate, if necessary, right?
17             A.        Yes.
18             Q.        And that you're aware of the policies and
19         the procedures you go through if you want
20         accommodations ?
21             A.        Yes.
22             Q.        And so, at least, from the written
23         policies, you don't disagree that UH would
24         prohibit disability discrimination and give you an
25         accomodation if it was medically necessary and


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 1         reasonable, right?
 2             A.        That's what their policy states.
 3             Q.        Okay.    Fair.
 4                     And I saw that during your -- I'm going
 5         to call it employment, but we're in an
 6         understanding it's part of the fellowship program,
 7         right?
 8             A.        Right.
 9             Q.        And, I think, on the employment it was
10         about $50,000 a year?
11             A.        I believe so.       I can't remember exactly.
12             Q.        And it was full-time or part-time?
13             A.        It was full-time.
14             Q.        Full-time.       So you could, what, work
15         part-time at an urgent care, potentially?
16             A.        Yes .
17             Q.        How much would you make during that, if
18         you worked - -
19             A.        I don't remember exactly but it was
20         hourly.       I want to say maybe between 70 and 80
21         dollars an hour.
22             Q.        So you could work part-time outside of
23         the fellowship program?
24             A.        Yes .
25             Q.        But, in general, a fellowship program.


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 1         you obviously took a pay cut in order to try to
 2         get the fellowship?
 3               A.     Yes .
 4               Q.      So tell me, the fellowship program, how
 5         many -- what were you called?                 Were you a
 6         resident?       A fellow?      What were you called?
 7               A.      Fellow.
 8               Q.     How many fellows were in the
 9         endocrinology fellowship program when you joined
10         it?
11               A.     When I joined?        Let's see.       I can't
12         remember exactly, but I want to say approximately
13         six.       But that number could be slightly off.
14               Q.      Okay.      And that's fair.
15                       So approximately six.            And I take it -­
16         how many years of the program?
17               A.      It'S a three-year program.
18               Q.      And that would make sense because I think
19         I read that there's two fellows per year?
20               A.      Yes .
21               Q.      And so that would mean, if you got six,
22         you're going to have two that would graduate,
23         hopefully, that year and two more come in?
24               A.      Urn-hum.
25               Q.      Right?


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 1             A.      Correct.
 2             Q.      And then how many physicians were there
 3         to evaluate and assist in the program,
 4         approximately?
 5             A.      Once again, don't remember exactly,                  But
 6         the ones I can remember, let's see, seven that I
 7         remember, but not all of them were full-time and
 8         not all of them had direct contact with the
 9         fellows.
10             Q.        So those seven, some of them were more
11         highly involved, some of them were less involved?
12             A.        Correct.
13             Q.        What, in general, did those seven
14         physicians do?        You tell me some of the things
15         they did as part of the program.
16                       How did they interact with you and the
17         other fellows?
18             A.        Well, that's two separate questions,                How
19         they interacted with me was much different than
20         how they acted with other fellows.
21             Q.        I'm just asking you, generally,             I' m
22         going to let you -­
23             A.        No, I understand.
24             Q.        I'm going to let you blast UH all you
25         want.     But right now I'm just trying to ask you.


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 1         in general, how is it that they would interact
2          with the fellows?
 3             A.      I mean, generally, the way it should have
 4         been, was they would oversee the clinics,                  Fellows
 5         were supposed to have their patients and the
 6         attendings would just make sure everything was
 7         going the way it should be and that the fellows
 8         are making the right decisions, just as a
 9         safeguard to make sure that they -- we weren't
10         making any mistakes since we were still in
11         training and weren't completely proficient with
12         everything.
13                       In addition, they're responsible for
14         providing eduction, which didn't always happen.
15         But, in theory, they're supposed to meet with us
16         periodically and provide some teaching.
17             Q.      And, I guess, let's talk about a week in
18         the life of a fellow.
19             A.        Okay.
20             Q.        So you would be there full-time?
21             A.        Yes.
22             Q.        Did you work during the day or did your
23         shifts change?
24             A.        Well, there were lots of different
25         activities a fellow might be doing.


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 1             A.      Urn-hum.
 2             Q.      Was that every year or just year one?
 3             A.       Every year.      I wouldn't even say classes.
 4         It's more like we have our divisional conference.
 5         I can't even remember exactly, I want to say maybe
 6         twice a month or once a month, we had a fellows
 7         only session, with one attending, where we would
 8         go over some things with a textbook.
 9             Q.       Okay.
10                      Did you have group meetings once a week?
11             A.       The divisional conference was the group
12         meeting.
13             Q.       Okay.
14             A.       But that was the entire department.
15             Q.       What is the Wednesday conference?
16             A.       That's the departmental conference, where
17         the entire department, the attendings, fellows,
18         nurses, other people within the department meet
19         together and, in theory, discuss patients and go
20         over educational topics.
21             Q.       How long is that departmental meeting?
22             A.       I can't remember.         It was more than an
23         hour but I don't remember how long.
24             Q.       So everybody comes in, and is there an
25         agenda, or do they just start going through


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 1         different patients?
 2             A.      There was an agenda but it wasn't always
 3         abided by.       But, yes, there was an agenda.
 4             Q.      Okay.
 5                     And I take it, for example, they might
 6         say. Dr. Matthews, tell us about patient X.                   And
 7         you would go through and tell about patient X?
 8             A.        Correct.
 9             Q.      And then others could ask questions about
10         patient X or about your treatment?
11             A.        Sometimes that would be done.            Usually,
12         for that kind of review, the fellow that was on
13         hospital service would present the patients and
14         just say what was going on with them.
15                     And usually there weren't that many
16         questions.       Well, there shouldn't have been any
17         questions about it.          Just was kind of getting
18         everybody on the same page because on the weekends
19         we would take calls, so you would have to be aware
20         of what patient was in the hospital,                 So it was
21         mostly just an educational thing, so it would make
22         transition of care smoother.
23             Q.        So I take it that part of this is,             from
24         what I hear about these group discussions, part of
25         it is learning?


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 1                           (Thereupon, Deposition Exhibit 6,
 2                          March 22, 2012 Letter From Julie
 3                           Chester, was marked for purposes of
 4                           identification.)
 5
 6             Q.      Okay.
 7                       So handing you what's been marked as
 8         Exhibit 6.        And this looks, to me, as if this was
 9         the formal request for accomodation.
10             A.        That's correct.
11             Q.      And so we get a request for accomodation
12         and this is the medical              Page 2 is the medical
13         documentation that you submitted, right?
14             A.        Yes .
15             Q.        Okay.
16                       So you asked for an accomodation and they
17         -- and do you have a problem with UH saying. Give
18         us medical documentation to support it?
19             A.        They never asked me that, but, yes, I
20         don't have a problem with it.
21             Q.        Well, I think if you look at this letter,
22         March 22, they're saying. You need to give us a
23         release and you need to give us some information
24         to support it, right?
25             A.        Let me see.      Where do you see that?


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 1             Q.      Well, complete the attached
2          authorization --
 3             A.      Yes, which I did.
 4             Q.      Okay.
 5                     Have your health care provider complete
 6         the attached health care --
 7             A.      Yes, which she did.
 8             Q.      Obviously, they're saying. We trust what
 9         you're saying, but we need to see what your
10         physician is saying.
11             A.      Yes .
12             Q.        So you don't have a problem with that.
13         right?
14             A.      No.
15             Q.        So let's see.      So the answers are             and
16         did you agree with what your physician said here?
17             A.        I would say so, yes.
18             Q.        So let's go through.
19                       "Does the employee have a disability that
20         substantially limits one or more major life
21         activities?"        And your physician answered yes.
22         right?
23             A.        Correct.
24             Q.        And what are they?        Social phobia and
25         difficulties in unknown social situations; is that


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 1         correct?

 2             A.        Yes .   There's more to it than that, but,

 3         yes, those two statements are correct.

 4             Q.        Those two statements are correct.              I

 5         didn't see those two in your latest 2017 medical

 6         statement?

 7             A.        That's because social phobia falls under

 8         the general umbrella of generalized anxiety

 9         disorder.

10             Q.        What do you understand social phobia is?

11             A.        Social phobia is an anxiety that
12         manifests itself from social situations.                  Speaking

13         up in groups, meeting new people,              socializing.

14         Just, generally, being around other people can

15         trigger anxiety symptoms.
16             Q.        Okay.

17                       And "Does the employee use any mitigating

18         measures?"        And we're saying yes, medications,               I

19         take it?
20             A.        Yes .
21             Q.        And then we get into -- and we've talked
22         about your medications,             right?
23             A.        We have.
                                          M
24             Q.        So number 3,         Does the disability affect

25         the employee's ability to perform any one of the


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 1         physician decide, Hey, I'm now prepared to go into
 2         unrehearsed questions and answers.
 3             A.      Well, it wouldn't be a matter of
 4         decision.       It would be a matter of the course of
 5         my illness.
 6             Q.      Okay.
 7                     Well, I understand.          But it's not as if
 8         you saw an end sight as of May 3, 2012 .
 9             A.      Okay.
10             Q.      Right?
11             A.      That's correct, yes.
12             Q.        If we look at this, just to be fair on
13         it, because I think the dates will tell us a
14         little bit more.         This is March 22, when you've
15         already made the request on March 19, right?
16             A.        Right.
17             Q.        If we look at Page 1.         March 22, UH gets
18         back to you and says. Hey, give us medical
19         information, right?
20             A.        Yes .
21             Q.        And then on, it looks like. May 3, 2012
22         is when you gave them your medical docs?
23             A.        There's actually a document that goes
24         before this.          My doctor wrote a general note
25         stating that I have this diagnosis and I should be


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 1         accommodated.           She didn't have this form.         And so
 2         UH wrote me back saying she didn't put it on the
 3         right form.            So she gave us this form, and this is
 4         how it came back later.
 5               Q.       Okay.
 6                        So you got this form and submitted this
 7         form, as to it?
 8               A.       Yes .
 9               Q.       And if we look at -- and I understand
10         that Exhibit 5 was not put in the                   the date of
11         it was not effective that day.                 But this is March
12         14,    2012.     And if we look at it             it was, in
13         fact, on even five days before, you made the
14         formal request, and then a couple months before
15         you submitted your formal medical documentation,
16         right?
17               A.       I'm not sure what the question was.              I

18         didn't see that
19               Q.       Well, I'm just looking at the date.              You
20         were saying -            if we look at the end of Exhibit 5,
21         it says, March 14, 2012 was the date.
22               A.       Right.      But it wasn't handed out to
23         anybody at that time.
24               Q.       Understood.
25                        But, obviously, during the course of


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 1         this, you had to do certain things and you
 2         expected UH to do certain things, as well, right?
 3             A.      I don't know what their responsibility
 4         would have been.         But, yes, I was doing certain
 5         things.
 6             Q.      Well, I guess I would say, you would
 7         expect that UH, if you're HR, you spoke with Julie
 8         Chester, right?
 9             A.        I did.
10             Q.      And you expect Julie Chester is going to
11         say. Well, what are the essential functions of the
12         fellow program. Dr. Uli, right?
13             A.        I don't know what her job would have
14         been.     I just know that I was applying for
15         accommodations at that point.
16             Q.        You had no idea what UH should have been
17         doing or anything like that?
18             A.        No.
19             Q.        Then as we get to the end, it says,              "The
20         employee is actively seeking help for her
21         symptoms, and is very motivated in her treatment.
22         She has made some progress already."
23                       Did I read that right?
24             A.        I believe so.
25             Q.        Who was your treating physician, at this


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 1             Q.      And let me ask you, with Mr. Rebello, how
 2         much contact did you have with Mr. Rebello?
 3             A.        I'd say minimal.       I met him maybe two or
 4         three times during the course of this incident.
 5             Q.      Did you talk to him about the
 6         accommodations?
 7             A.      No, not about the accommodations.
 8             Q.      What did you talk to him about?
 9             A.        I complained to him -         I initially went
10         to graduate medical education about the
11         discrimination and abuse I was suffering in my
12         fellowship program.
13             Q.        Okay.
14                       When do you think that took place?
15             A.        Approximately, I would say the fall of
16         2011 .

17             Q.        I guess, tell me then, what were you -­
18         what was your complaint at that point?
19             A.        There were numerous.          Would you like me
20         to go through it all?
21             Q.        Yeah.
22             A.        Okay.
23                       So from the very beginning, I was treated
24         differently from the rest of the trainees in the
25         fellowship program.          I noticed that all the other


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 1         fellows had their own clinic,            and they would have

 2         their clinic schedule at least a month in advance,

 3         sometimes more.

 4                      I was called sometimes with less than 24

 5         hours    notice and sent to clinic.             This gave me

 6         inadequate time to prepare and made it very

 7         difficult to get my work done properly.

 8                      In addition,     I was denied a formal

 9         orientation process at the start of my fellowship.

10         Whereas,     all the other fellows were oriented

11         properly.      And that made it very difficult for me

12         to know what to do and to get it done

13         appropriately.

14                      I was also required to cover another

15         fellow's clinic if they were absent, which no

16         other fellow was required to do.               Once again.

17         caused difficulties with my schedule, made it hard

18         for me to plan, hard for me to get my work done.

19                      So I noticed I was having this disparate

20         treatment.       I didn't like it.          It was making my

21         anxiety worse,       so I spoke to Dr. Uli about this

22         in,   approximately,      the late summer,        early fall of

23         2010 .

24                      And at that point,        I told him about my

25         anxiety disorder and explained that this disparate


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1         not only discriminatory, because even in your

2          documents there, every fellow is supposed to have

3          their own project.         And every fellow did,          except

4          for me.     It was against the rules for the national

 5         governing body for fellows,           that states that every

 6         fellow is supposed to have their own project.

 7         Also, Dr. Uli would routinely leave me off of

 8         departmental emails.

 9                     And I missed out on multiple educational

10         opportunities because of that,              So around the late

11         summer,    early fall of 2011,         I realized I was

12         making no progress within my department,                  So I

13         went outside of the department to complain,                  and

14         that's just the point,          that I went to graduate

15         medical education.

16             Q.      Okay.

17                     And just so -- I was asking you about

18         Mr. Rebello.

19             A.        Yes .

20             Q.       And that's how you got in contact with

21         Mr. Rebello?

22             A.        Exactly.

23             Q.        And I take it you sat down with

24         Mr. Rebello and you told him all about this --

25             A.        Yes .


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 1             Q.           like you just told me?
 2             A.      Right.
 3             Q.      What did Mr. Rebello do?
 4             A.      He referred me to HR and then he also
 5         referred me to the head of graduate medical
 6         education.
 7             Q.      And HR, you went and told them the same
 8         things, and they told you they would investigate?
 9             A.      Yeah.     They said. We don't investigate -
10         sorry.     We don't discriminate against anybody.
11         And are you sure this is happening to you?                   And,
12         obviously, this can't be happening, essentially.
13         And I don't know if any investigation ever took
14         place, but I know nothing ever changed at that
15         point.
16             Q.        You said you also went to the graduate
17         medical
18             A.        Graduate medical education.
19             Q.        Okay.
20                       And that's how you got around to say.
21         Hey, let's ask for an accomodation?
22             A.        Not immediately,        The first time I met
23         with the head of the department. Dr. Jerry Shuck,
24         and he met with me and Dr. Uli, and he set forth
25         some plans and rules that Dr. Uli was to follow.


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 1                     And Dr. Uli agreed to those in the

2          meeting, but refused to follow them afterwards.

 3         And he continued to treat me badly and

4          discriminate against me.            And at that point,          it

 5         escalated his behavior in the Wednesday

 6         conferences where he would               and other

 7         attendings,      too, would interrupt my formal

 8         presentations,         try to discredit my work, and

 9         overall just sabotage my performance.

10                      So at that point,       I returned back --by

11         that time,      it was probably early spring,            late

12         winter,    early spring of 2012, went back to

13         graduate medical education and explained how this

14         was really making my anxiety spike up and I was

15         tired of being discriminated against,                and this was

16         unacceptable .         And that was when Dr.       Shuck told me

17         that I should apply for accommodations through HR.

18             Q.        Okay.

19                       So let me ask you with Mr. Rebello,               it

20         sounds like,          at the very least we can agree, he

21         sent you to HR?

22             A.        He did.

23             Q.        In order to formally present your

24         complaint of discrimination.             right?

25             A.        Yes .


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 1             Q.      And he sent you on to the graduate -- say
 2         that again.           What is it?
 3             A.      Graduate medical education,             He was
 4         actually in that department, but he sent me to the
 5         head of the department.
 6             Q.      Okay.
 7                     And they tried to work with you in order
 8         to set         I guess, see if accommodations could be
 9         made to help you excel?
10             A.      Yes .       That was the second part.
11         Initially, they set forth some rules, which
12         Dr. Uli did not follow and they failed to enforce.
13         but yes.
14             Q.      Well, I guess I'd say, and then they
15         said. Hey, why don't you make a formal request for
16         accommodations?
17             A.        Yes .
18             Q.        So was there anything, I guess                let me
19         just ask you about              if I'm trying to get the bad
20         actors, I want to know who is bad out of all this
21         stuff, so I can then ask you about the bad.
22             A.        Okay.
23             Q.        Was HR bad or no?
24             A.        I would say they didn't do their job, but
25         they weren't actively               discriminating against me


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1          actively.      They didn't fix the discrimination, but
2          they didn't actively do anything.
3              Q.      Mr. Rebello?
4              A.      Once again, he wasn't helpful, but he
 5         didn't do anything directly to me.
 6             Q.      I guess he sent you to resources.
 7             A.      The resources didn't do anything but.
 8         yes, he did.
 9             Q.      So he didn't actively do anything wrong?
10             A.      No.
11             Q.      The GME, did they do anything actively
12         wrong?
13             A.      Jerry Shuck, no, he did not.              He didn't
14         help me, once again,          He did give rules, which
15         would have helped, and he did offer the
16         accommodations, but he didn't enforce anything.
17             Q.       Okay.
18                       So I take it, who were the bad
19         Dr. Uli?
20             A.        Yes.    Naveen Uli.
21             Q.        He's number one, or where does he fall?
22             A.        He's probably tied with Sumana
23         Narasimhan, those are the two.
24              Q.       Okay.

25                       Tell me the


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                                                                         Page 121
 1             A.        Sumana, S-U-M-A-N-A.
 2             Q.        S-U-M-A-N-A?
 3             A.      Yes .    Narasimhan, N-A-R-A-S-I-M-H-A-N.
 4             Q.        So those two are tied for number one bad
 5         guys?
 6             A.      Yes.     And then close behind is Rose
 7         Gubitosi-Klug.
 8             Q.        Rose      spell that.
 9             A.        G-U-B-I-T-O-S-I, K-L-U-G.
10             Q.        Close behind.      Anybody else?
11             A.        There are other people who did minor
12         things here and there, but I think that would be
13         petty.     They influenced the rest of the department
14         to treat me badly, but I think those are the
15         instigators.
16             Q.        Did any of these three bad guys, did any
17         of them use any racial slurs?
18             A.        Slurs, no.     But insensitive language.
19         yes .
20             Q.        Well, I'll ask you at the end about any
21         of those things.
22                       Was there any racial slurs?
23             A.        No.
24             Q.        Was there anything as to -- aside from
25         you need to work through your anxiety.                 Was there


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 1         any slurs, I guess, towards your -­
 2             A.      They didn't say work through it; they
 3         said get over it.
 4             Q.      Okay.
 5                     Was there any slurs?
 6             A.      No.
 7             Q.        I guess, just in terms of any
 8         inappropriate comments, and I understand that you
 9         say. Hey, they asked you to do things that you
10         thought were maybe -- but any inappropriate
11         comments, tell me that.
12             A.        Inappropriate?      Yes .     One thing that he
13         told me       - Dr. Uli told me, that African American
14         people have wild, unruly hair.               Then, also, both
15         Dr. Uli and Dr. Gubitosi-Klug told me that not
16         having a research project, normally, isn't
17         something they do for fellows, but for people like
18         me it's appropriate.
19             Q.        Anything else?
20             A.        I'm sure there's more, but I don't
21         remember.
22             Q.        Dr. Uli, I guess, on the hair, how did
23         that come up in conversation?               I have to believe
24         there was some context to that.
25             A.        Yes .   There was a patient who, she was


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 1         areas, and this is the way we're going to do it.
 2         Could that be the case?
 3             A.      No, because they would have brought that
 4         up to me, first of all.           And secondly, that
 5         doesn't excuse the behavior once I was there.
 6             Q.      Okay.
 7                     Well,      I guess I would say,       I understand

 8         that, obviously, again, grading,              if I got a C in a

 9         course or if I didn't get an A,              I might not be

10         happy with it.         But sometimes poor grades are

11         warranted, right?

12             A.        Right.    And I understand that             I'm not

13         claiming that I'm perfect.             I did have room to

14         improve.       But once again,      they were using

15         arbitrary methods of evaluation,              and they were

16         grading me much harsher than my peers.

17                       Plus,    on top of that,       I was suffering

18         from anxiety,         and the Americans With Disabilities

19         Act clearly states that you can't use an

20         evaluation tool if the disability is interfering

21         with the item that's being tested.

22             Q.        So you think that the disability would

23         say that you're automatically excluded from

24         anything that would be impacted by your anxiety?

25         They can't grade you on it.


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1          not?

2               A.     It's indirect.        Not to evaluate your

 3         performance in case conference,               I could be

4          evaluated,     just not the unrehearsed part.

 5              Q.     So then it goes into the -             based on this

 6         letter, UH believes that's an essential function

 7         of your position,        do you agree?

 8              A.     I disagree.       But, yes,     according to this

 9         letter, that's what they believe.

10              Q.     And then UH ultimately said, because this

11         is an essential function, you're saying you can't

12         do that essential function, we're going to put you

13         on a leave of absence?

14              A.      Correct.

15              Q.     And that's when we talk about,              from July

16         1,   2012 on, you didn't have any contact with the

17         fellowship program?

18              A.      Nothing that I can remember.

19              Q.       Okay.

20                       Were you trying to return?           What was your

21         plan?     When they put you on the leave of absence

22         July 1, what was the plan?

23              A.       The plan was to try and return.

24              Q.       How so,   though,    is what I'm saying?          Was

25          it to try and return because you thought you could


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 1         then start doing the unrehearsed?
 2             A.      No.    To get my accommodations that were
 3         due to me and to return to the fellowship program.
 4             Q.      So it was really just simply saying, you
 5         didn't expect that you were going to be able to do
 6         the unrehearsed.         You wanted them to change it
 7         through legal means, essentially, is what you
 8         decided?
 9             A.        I don't know about the legal means.               But,
10         yes,     I wanted them to give me the accommodations
11         that were appropriate for my condition, and I
12         wanted to return to the fellowship program.
13
14                           (Thereupon, Deposition Exhibit 9,
15                           June 22, 2012 Letter, was marked for
16                           purposes of identification.)
17
18             Q.      And it looks like, again, I know you
19         didn't ask for it, but it looks like they did put
20         you on a medical leave of absence or at least an
21         approved leave of absence,             So if you were able to
22         return to the program, you would restart the
23         fellowship program, right?
24             A.        I don't know about that.
25             Q.        Well, you were on a leave, and at this


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 1         point in time you had actually resigned to be out
2          of the program, right?
 3             A.      No, I had not resigned at that point.
4              Q.      I mean, obviously, when you resigned that
 5         meant something.         You were still part of the
 6         program in July 2012, even though you weren't an
 7         active participant, right?
 8             A.      Okay.
 9             Q.      Right?
10             A.        I assume so.      I don't know.
11             Q.      Obviously, they gave you an approved
12         leave of absence.         It wasn't like they said. We're
13         terminating you and we can't accommodate you and
14         we're terminating you.
15                       They said. We're going to put you on
16         leave, and as you said, you were going to continue
17         to try to see if you could get those
18         accommodations           I guess, get the accommodations
19         you requested or somehow something changed, right?
20             A.        Correct.    Although, this does not state
21         that the leave of absence was approved,                  This is

22         telling me the steps I have to do to get this
23         leave of absence, which I did not do since I
24         didn't request the leave of absence.
25              Q.       Oh, you didn't follow through and do any


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1          in later 2012?

2              A.      Yes .

 3             Q.      Did anything happen, aside from the fact

4          that you were obviously upset once you went on

 5         your -- I'm going to call it a leave of absence.

 6             A.      Okay.

 7             Q.      You,      obviously, disagreed with it.           But

 8         did you have any contact with Dr. Uli or any of

 9         the physicians or attendings during that time?

10             A.      Not that I recall.

11             Q.      So

12             A.      Actually,      let me back up.        I did have

13         contact with Teresa Zimmerman, who is not involved

14         in this.       She actually treated me relatively well.

15         We had done a project together,              and she was

16         presenting the poster for the project, and she

17         asked me to help her with that,               So I did meet

18         with her on a couple of occasions.

19             Q.       Was she a fellow or what was

20             A.        No,     she was an attending.

21             Q.        She was an attending?

22             A.        Yes .

23              Q.       So understood there.

24                       So I think we've gone through everything

25         that you've said about the discrimination.


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 1         stuff post,       and wrap up with that?

2                      MR. BEAN:       I'll do whatever everyone else

 3         wants to do.

4                      THE WITNESS:        I'm fine with either.

 5                     MR. BEAN:       I mean,    is this a natural

 6         breaking point?

 7                     MR.    CAMPBELL:     I would think now is

 8         probably the time to take -- if we're going to

 9         take a lunch break,         I'd say now.

10                       (Recess taken.)

11             Q.      So when we left, we were going to talk

12         about performance.          I guess, you had the break.

13                       Is there anything you want to add,             or

14         anything else, or are we all set to go?

15             A.      Not that I can think of at this time.

16             Q.        Thanks.

17
18                           (Thereupon, Deposition Exhibit 11,

19                           Remediation Plan For Alison

20                           Matthews, was marked for purposes of

21                           identification.)

22
23             Q.        So I've handed you what's been marked as

24         Exhibit 11.        I think this is one of the documents

25         you provided.


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 1             A.      It looks like it is, yes.
 2             Q.      And I saw it, it was also               without the
 3         handwriting, it was something we provided to you.
 4         And it looked like, on this left-hand column, did
 5         you keep a notebook?          Or how were these kept?            Was
 6         that by you or - -
 7             A.      Yes, I kept a notebook.
 8             Q.      Is this you or your counsel?              Is this
 9         something that you kept?
10             A.      Well, I made it and provided it to
11         counsel.
12             Q.      What did you do, like, keep a notebook of
13         all the documents or all the performance
14         documents?        Or what did you do?
15             A.        I kept a notebook of everything I could
16         -- once I saw things weren't going well, I kept
17         everything that I remembered to.
18             Q.        It looks to me that this was given to you
19         in June 2011.
20             A.        Yes .
21             Q.        Well, I see that first sentence.              I met
22         with Alison Matthews on June 29, 2011. II
23             A.        Although, Dr. Uli does have a habit of
24         making documents prior to the fact and putting
25         dates on them.        So I don't know if it was actually


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1          that date, but it was probably around that time.
2              Q.      Okay.       That's fine.
3                      That's why I said June 2011.              Do you
4          disagree with that?
 5             A.      I don't disagree with that, no.
 6             Q.      So it was about a year before you went on
 7         the leave of absence, right?
 8             A.      Correct.
 9             Q.      So let's look at this.            At this point in

10         time, I take it                 I guess, and the handwriting is
11         yours?
12             A.      The little sticky notes, yes, those are
13         mine.     The one at the bottom, I'm not sure who
14         wrote that.           That might have been my first
15         attorney.
16             Q.      Okay.
17                       So if we look at the end, it was your
18         writing, at the time, when you signed it on August
19         9, 2011, right?
20             A.        Yes .
21             Q.        So I guess, is that your -- so can you
22         read that into the record, just so I understand,
23         where it says,           I agree to present.      M




24             A.        It says.     II
                                           I agree to present cases/review
25         topics during the divisional conferences.


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 1             A.      Okay.

 2             Q.      The first one,         Clinical evaluations from

 3         six faculty members from January through June

 4         2011.

 5                     Did I read that right?

 6             A.      Yes .

 7             Q.        So this was about six months into the

 8         program for your second six-month tenure in the

 9         program,      right?

10             A.      Well,      that was when it happened.          But

11         lots of times,         the evaluations wouldn't be from

12         any specific period of time,            or would represent

13         one instance.          This was,   I believe,     the first

14         evaluation I had ever received in the program.

15             Q.      At least from what they're saying -­

16         first of all,       they're saying,          Inadequate progress

17         over her first year as a fellow in clinical

18         knowledge and skills."

19                       Did I read that right?

20             A.        You did.

21             Q.        And when I looked at the back it,             seemed

22         to say that you said,          I have the knowledge and

23         skills,    it's just that I don't always let you know

24         because I might be quiet.

25                       Is that generally --


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1              A.      Yes .     And my anxiety tends to make that

2         more difficult for me to speak my knowledge,                    And

3          at that point -- and I agree now,              still,    that I'm

4          sure there was room for me to improve,                  However,

 5         just the way it was structured with all the

 6         discrimination against me,            the abuse,    the unfair

 7         expectations,        that I was unable to meet my true

 8         potential.      And I think had I been evaluated on an

 9         equitable scale, that wasn't different from the

10         rest of the fellows,         I would have done much better

11         on my evaluations.

12             Q.      Okay.

13                     Well, we'll talk about it.             I'll give you

14         the chance.          But what I was talking about there is

15         I think your writing,            itself,   says that,    I have

16         the knowledge.         And you're even saying now that

17         maybe you didn't have it all.              there was areas to

18         improve.

19                       But your writing,       that you gave to

20         Dr. Uli,      is I had the knowledge, but I agree,              I

21         might be quiet at times and you don't know I have

22         the knowledge because I'm not telling you.                  right?

23             A.        Yes,    I agree,     Sometimes they wouldn't

24         necessarily see what I knew because I didn't say

25         anything.


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 1         However, to my knowledge, it is still there,                   The
2          last time I requested my file, those were in there
 3         Still.
 4                Q.    Then the remediation plan, they're
 5         telling you to do a number of things.                 I guess, I
 6         got         count out seven remediation plans, and then
 7         how to track progress and additional resources
 8         identified to assist Alison.
 9                      Did I read those right?
10                A.    Yes .   Which Dr. Uli failed to provide for
11         me .
12                Q.     So I guess I would say, at the very
13         least, it looks to me as if this is a pretty
14         detailed plan,        And you may not agree with
15         everything, but most certainly. Dr. Uli and the
16         faculty members are saying. Hey, this is where we
17         see your deficiencies and how we want you to
18         improve, right?
19                A.     That's maybe what they're saying.              But
20         what I'm saying is this plan was not followed.                     I
21         agreed to follow the plan, even though I disagreed
22         with the subject of it.            But I was unable to
23         follow the plan because they wouldn't hold up
24         their end of the bargain.
25                Q.     Well, I mean, I guess I would say, a lot


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 1         being discriminated against within the program,

2          treated poorly,       and,    frankly, abused by many of

 3         the faculty members.           So that affected my

4          performance, as well.

 5             Q.       That did.       Okay.

 6                      So I take it from all of that, you do,               at

 7         least,     admit that your performance was down, but

 8         you blame it on other factors -­

 9             A.        I don't think it was as down as the

10         grading -- these are arbitrary grades,                 But I

11         think I could have done better had I been at a

12         more supportive environment,            that treated me

13         fairly and equitably to my peers.

14

15                          (Thereupon, Deposition Exhibit 13,

16                          Performance Alert Notice, was marked

17                          for purposes of identification.)

18

19             Q.        Exhibit 13 looks like            and you're

20         welcome to look through it.             But this one looks

21         like it was given to you just before your

22         accomodation request.           February 29,      2012.

23             A.        I don't believe that was the date.               But ,

24         yes,      it was given to me.

25              Q.       Well,   do you agree it was in 2012?


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 1             A.      Yes .
2              Q.      Okay.
 3                     And from the              if we look at the
4          start on the back page.               It looks like this is
 5         Dr. Uli's writing?
 6             A.      It is .
 7             Q.      And it says, in the second paragraph, I
 8         believe it reads.          II   After reviewing its contents.
 9         Dr. Matthews refused to sign it. II
10                     Do you agree with that?
11             A.        I do.
12             Q.        II   She stated that she would consider a
13         six-month extension of her fellowship but refused
14         extension for 12 months. II
15                     Did I read that right?
16             A.        Yes.
17             Q.        So Dr. Uli, at the end of this, is
18         saying. We, as a faculty -- I guess, correct me if
19         I'm wrong.           We, as a faculty, see that there's
20         some deficiencies or performance areas that we
21         think could improve if we extend your fellowship.
22             A.        That's what he said.
23             Q.        Did you agree to extend it by six months?
24             A.        No.      I said I could possibly, if they can
25         show me objective measures of deficiency, and they


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1          could stop the discrimination, appropriate
2          accommodations for my disability, and stop
3          treating me poorly, I would consider extending the
4          fellowship for a maximum of six months.
 5             Q.      Well, you understand that if you didn't
 6         extend and you didn't meet the standards, as the
 7         faculty set, you wouldn't have graduated or you
 8         would have been taken out of the program.
 9                     Did you understand that?
10             A.      Yes .    But I'm meeting the standards, I
11         think, of unequitable measures,               So it wasn't fair
12         to say I wasn't meeting the standards.
13             Q.      Well, let's go through what they're
14         saying to you at this point,             Now, this is a
15         performance alert notice and it says, on Page 1,
16         it's to officially inform you of our concern
17         regarding your performance as a resident.
18                      Did I read that right?
19             A.        You did.    Although, may I just tell you
20         what the performance alert is supposed to be?
21             Q.        I'm sure you have your opinion of it.
22             A.        It's not an opinion.          It comes directly
23         from the UH handbook.
24                       A performance alert is supposed to
25         identify an area of concern, specific incident.


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 1             A.      Well, shortly thereafter I was forced out
 2         of the program, so I didn't have the opportunity
 3         to follow them had I wanted to or not.
 4             Q.      Were you planning on following them?
 5             A.       I hadn't looked at them closely.              I
 6         hadn't decided yet.          I mean, obviously, I wanted
 7         to do as best as I could, so chances are I
 8         probably would have, but I don't know,                 I didn't
 9         have the opportunity to decide one way or the
10         other.
11             Q.      And you think that the one accomodation
12         that you were speaking, was going to cure all of
13         those deficiencies that they said.
14                      Is that your view?
15             A.       Not cure them.       But, first of all, I
16         disagree that all of those deficiencies was the
17         way they were.        But, yes, I think I would have
18         improved much better.           And if they had stopped
19         harassing and discriminating against me, I would
20         have had the opportunity to learn in a fair
21         environment and I would have flourished.
22             Q.       Okay.
23
24                          (Thereupon, Deposition Exhibit 14,
25                          Summary of Group/Fellow Evaluations,


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                                                                         Page 197
 1                         was marked for purposes of
2                          identification. )
 3
4              Q.      You've been handed what's been marked as
 5         Exhibit 14.       This one looks like it's a summary of
 6         evaluations .      And try to go through and identify
 7         the group in comparison to you on many of these
 8         things.
 9                       So this actually gives you what the group
10         was doing.       I guess it's going through all of your
11         interpersonal, group is average score of all -­
12         fellows represented average score of all -                   so
13         it's going through and giving you your performance
14         in relation to your peers, right?
15             A.        That's what the document appears, but I
16         don't know for sure.
17             Q.        You don't know for sure.
18                       Did you think that your performance was
19         good or bad or did you just -­
20             A.        Well, I think my performance, based on
21         these scales, couldn't be probably evaluated,                     I

22         thought I was a competent physician, and I did the
23         best of my ability,          But I don't think these
24         grades represent any of that because I was being
25         graded by people who were actively discriminating


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 1         against me.

2                      Furthermore,      the testing is being              the

 3         results of the tests are muddled by my disability,

 4         which has not been accommodated for.                 So once

 5         again, these aren't really compliant with the ADA.

 6             Q.      Okay.

 7                     So can we agree that based upon the

 8         percentages that have been put here,               that you're

 9         below the group on almost every one,               if not every

10         one?

11             A.      That's what this looks like.

12             Q.      And if we get into the comment section,

13         there's a few positives, but a lot of them are -

14         like, medical knowledge,           there's a number of

15         negatives on medical knowledge,               I mean.

16         explanation, you have two out of five on medical

17         knowledge,      it looks like.       Many, many of these,

18         right?

19             A.        That's what it looks like.
                         And one of them,      for example.      n Speak   up.
20             Q.
21         We don't know what you are thinking if you don't

22         share your differentials,             This is improving in

23         one-on-one meetings."

24                       Did you agree or disagree with that?

25             A.        Yes .   Because as I mentioned, my anxiety


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1              Q.      So, I guess, let's go to a couple more
2          documents here as to it.
3
4                            (Thereupon, Deposition Exhibit 15,
 5                          EEOC Notice of Charge of
 6                          Discrimination, was marked for
 7                          purposes of identification.)
 8
 9             Q.      So we're now post -- you've resigned,
10         you've moved on, and you filed a charge here and
11         it says retaliation, disability, race, and color,
12         right?
13             A.      That's correct.
14             Q.      Now, first of all, retaliation.               I think

15         we can agree that you complained -- I think you
16         said you raised very early in your fellowship
17         alleged discrimination. right?
18             A.        Yes .
19             Q.        So, I mean, it was from day -- like what,
20         two months in?        A month and a half in?
21             A.        Probably about a month in is when I first
22         started to notice the disparate treatment.
23             Q.        Okay.
24                       And you continued to raise those issues
25         throughout?


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 1             A.      I did.

2              Q.      And this isn't like, all of a sudden, you

 3         were performing stellar, you complain, and the

 4         next day it went off the cliff,               This is from the

 5         get-go you complained, right?

 6             A.      Well,     I noticed the poor treatment about

 7         a month or two in, and then I'd say approximately

 8         two months or so later is when I first began

 9         complaining.

10             Q.      And when you say first began, you

11         complained lots?

12             A.      Yes .

13             Q.      Now,      let's talk about the other issues

14         here.     And it says          and when I say lots,         I mean.

15         you complained to different people on different

16         times,    in response to evaluations,            in response to

17         accommodations.          I mean, you complained

18         repeatedly.

19             A.        Well,    I lodged complaints about my

20         treatment.        I wasn't simply whining,           I went to

21         the appropriate people to get my situation

22         rectified.

23              Q.       When I say complained, you alleged

24         discrimination on a variety of bases --

25             A.        Yes .


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 1             Q.           a number of times throughout your
 2         employment?
 3             A.      I did.
 4             Q.      Okay.
 5                     Early, often, and everything in between.
 6         right?
 7             A.      Correct.
 8             Q.        So now let's talk about your charge,               And
 9         the second paragraph there, in the particulars,
10         and this one says you complained, first of all, in
11         November of 2010, is that about right?
12             A.        That's approximately correct, yes.
13             Q.        May have been earlier?
14             A.        May have been earlier.          But it was in the
15         fall of 2010.
16             Q.        And then from there. there's lots of
17         complaints, right?
18             A.        Yes .
19             Q.        And it says here,       "The other staff
20         doctors       -- when you say other staff doctors, are
21         you talking about the other five fellows?
22             A.        Let me see.     What paragraph are you
23         referring to, please?
24             Q.        It says,   "Held to different standard by
25         staff doctors than white, Indian, and Asian


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 1             Q.      And then the women that were in the other
 2         seven or eight, you're saying, were white, Indian,
 3         and Asian?
 4             A.      That's correct.
 5             Q.      How many white?         How many Indian?         How
 6         many Asian?
 7             A.        I don't know off the top of my head,                 I
 8         know that there were two Indian, one Asian, and
 9         the rest were Caucasian.            But there were at least
10         three or four white fellows, but I can't tell you
11         exactly how many.
12             Q.        So different races and national origins
13         were all treated better than you, you're saying?
14             A.        That is correct.
15             Q.      When you were looking at the applicants.
16         you said there were very few men.                How many
17         African American females or men were in those
18         applicants
19             A.        I don't remember.
20             Q.        You don't remember?
21             A.        No.
22             Q.        Did you see any others?
23             A.        I don't remember.
24             Q.        Well, I guess, let me ask you, you said
25         that it wasn't discrimination as to men.                  But I'm


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 1             A.      Correct.
2              Q.      And then you said you applied for this
 3         other position at another department,                  I was
4          asked by Marci Manson to resign.                I mean.
 5         obviously         I guess, let me ask you, I mean, you
 6         understood that as the fellow if,              for example -­
 7         let's say you're on a different type of leave -­
 8         you definitely could not be full-time at some
 9         other position and be a fellow, right?                 I mean,
10         you had to be a fellow full-time?
11             A.      Not necessarily, I wasn't acting as a
12         fellow at the time.
13             Q.        I understand.      But you told me that you
14         wanted to come back.           So if you were actively
15         working to be a fellow, it's pretty difficult to
16         be full-time in something else?
17             A.        However, at that time, it wasn't looking
18         very promising that I was going to get back.                    I
19         did need employment.           I couldn't be unemployed for
20         an extended period of time, so I had to look for
21         other options.
22             Q.        Well, I guess what I'm saying is, it
23         certainly doesn't seem to me to be unreasonable to
24         say you need to make a decision.                If you're going
25         to go work full-time somewhere, you can do that.


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1          it's just you can't be in the fellow program,

2          taking up a spot, and working full-time somewhere

3          else .

4              A.      Okay.

5              Q.      Right?

 6             A.      That's correct.

 7             Q.      So you made the decision, you said,               I

 8         need another job and I'm going to go get that job,

 9         and I'll resign to go get a full-time job.

10             A.      No .      What happened was I started looking

11         at jobs to see -- basically weigh my options.

12         Ideally,     I was going to get back into the

13         fellowship program, but since that wasn't looking

14         very promising,         I had to look for other options to

15         support myself and my family.

16             Q.       Okay.

17                      But you made the decision,           I'd rather

18         work at Ohio Health, UH,           or someplace full-time

19         than to continue to wait to get back into the

20         fellow program?

21              A.       No, because I didn't have any money

22         coming in.         I had to do something.         And since I

23          couldn't get back into the program,               I was

24          essentially forced to find another job.

25              Q.       Okay.


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 1         everybody was starting at the same time, you and
 2         your fellow fellow would have both gotten the
 3         orientation?
 4             A.      No.    She was taken aside and given a
 5         special orientation.
 6             Q.      A special.       So it wasn't the standard.
 7         She got some special?
 8             A.        I don't know about that.          But I know she
 9         was given an orientation, where I was not.
10             Q.        I guess I can't imagine that you got
11         there and nobody said this is the way this process
12         is going to work, and what's expected of you.                      You
13         met -- you talked with Dr. Uli over and over
14         again, you met with other faculty members,                   You
15         never said to them, what's expected of me and tell
16         me about this?
17             A.        Well, sure, I asked about that, but I was
18         not given an orientation.            That's different.
19             Q.        I mean, at a certain point              I mean, I
20         get it.       But come one, they just brought you in.
21         and they somehow decided that we'll bring you in
22         just to make you fail -- I mean, at some point
23         logic has to tell you that maybe that wasn't due
24         to your race, maybe it was due to people don't
25         typically get orientated.


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1              A.      No, everybody else got orientation.
2              Q.      You're a doctor.         You're coming in as a
3          doctor.     You were already able to treat patients.
4          You're in the fellowship program to do it.
 5                     I mean, you didn't figure out, pretty
 6         quickly, what's expected of you?
 7             A.      I was able to figure it out.              However, it
 8         put me at a disadvantage because everybody else
 9         got that orientation and they knew and didn't have
10         to do it by trial and error?
11             Q.      And then the scheduling of these things.
12         From what I hear            I mean, I'm going to be honest
13         with you, I don't think there's any way they could
14         have done this better, unless they just gave you
15         all perfect, that you were going to be happy.                    I
16         mean, anything they did, you were going to say you
17         were being treated differently, right?
18                     MR. BEAN:       Objection.
19             A.        No, I disagree.
20             Q.        You disagree.
21                       And I looked at it, you had broad-based
22         performance issues.          These issues about you not
23         being able to communicate may have                   and you're
24         saying that your medical knowledge really wasn't
25         as poor as they believed, it's just that they


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 1         never pried it out of you?
2              A.      Not that they never pried it out of me.
 3         They never used a proper tool and let me be
4          evaluated in a method that would allow me to show
 5         my knowledge due to my disability.
 6             Q.      Due to your disability.            Okay.
 7                     Do you agree that there is a certain
 8         point of the fellowship program that the faculty
 9         members are going to determine whether or not -­
10         how they want to teach?
11                     Do you agree that there's a certain
12         amount of discretion, at least, to the faculty
13         members ?
14             A.        There's a certain amount of discretion,
15         but there shouldn't be any discretion in treating
16         fellows equitably, and I was treated much
17         differently than my peers.
18             Q.        Would it surprise you that every
19         fellowship program in the country is going to have
20         some form of impromptu question and answer, where
21         you have to communicate and you have to go through
22         discussions with your fellow fellows and your
23         physicians and faculty members?
24                       MR.   BEAN:     Obj ection.
25             A.        I don't know how other fellowships run.


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 1             Q.      Do you know of any fellowship program
2          where somebody can say, I'm going to dictate to
 3         you the method that you're going to teach me?
 4             A.      I don't know of any fellowship programs,
 5         how they run.
 6             Q.      Okay.
 7                     And I guess I'd say -- let's talk about
 8         where we're at.          I mean, this isn't -- I get if
 9         this is elementary school, and you say, I need to
10         be taught a certain way.            That's something that
11         everybody goes to, everybody has a right to go to.
12         and here it is.          This is a fellowship program.
13         You were going there to get an additional benefit
14         to your career, right?
15             A.      Well, to avail myself to a different sort
16         of career.
17             Q.        Okay.
18                       Well, you didn't have to go, right?
19             A.        That's correct.
20             Q.        You were a doctor before, during, and
21         after, right?
22             A.        Correct.
23             Q.        You could get a job, and it's
24         demonstrated, over $100,000, at any point and
25         leave that fellowship program, right?


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 1             A.      Correct.
2              Q.      You could have gotten it before you went
 3         through the fellowship program, right?
4              A.      Correct.
 5             Q.      So here's a fellowship program, it's
 6         voluntary.      You volunteered for it, right?
 7             A.      Correct.
 8             Q.      And they're trying to say. Hey, here's
 9         value, come to us and give three years of your
10         life and your career and only earn $50,000 a year,
11         and join this fellowship program, right?
12             A.      Well, can you break that up?              You said a
13         lot of things there.
14             Q.      Well, I guess I would say, a part of it
15         is they have to convince the doctor who is through
16         the residency program, and can go work at Akron
17         Children's and be board certified and make
18         $230,000, to forego $180,000 a year to work in a
19         fellowship program, right?
20             A.        Well, that's a means to an end.
21             Q.        I understand that's a means to an end.
22         But it is         that's a hefty difference,             So you're
23         coming in, most certainly they're saying that we
24         want to have, as a means to an end, as well, they
25         want to have the best people out there.                  And if


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 1         you're going to be a fellow in UH endocrinology,
2          they want to make sure that you're the best,
 3         right?
4              A.      I don't know what they're thinking.
 5             Q.      You don't know what they're thinking.
 6                     I guess I'd say, from my standpoint, it's
 7         hard for me to see how this program, that you
 8         agree they have to meet standards that are set on
 9         a national basis, right?
10             A.      That's correct.
11             Q.        So you agree that they had to set up a
12         program that would, at the end of the day, you had
13         to pass your boards, as well as pass all of their
14         certification program, right?
15             A.      Wait, break that up, because that's two
16         separate questions.
17             Q.        To get through the fellowship program,
18         you absolutely had to pass your boards before you
19         got through, right?
20             A.        No.
21             Q.        You did not?
22             A.        You did not.
23             Q.        You're saying what, that you passed the
24         fellowship program, and then how long did you have
25         the boards?


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 1             A.      Well, you can pass the fellowship program
2          and not take the boards for                 the American Board
 3         of Pediatrics gives you, now it's five years, but
 4         back then it was up to, I believe, ten years to
 5         get those boards in.
 6             Q.        I'm talking about the fellowship program.
 7         If you were going to get out in three years, you
 8         had to have your boards before the fellowship
 9         program
10             A.      No, that was a new requirement,               When I
11         came into the program, you had to either be board
12         certified or board eligible.             And I would have
13         been board eligible, even if I had not taken my
14         boards.
15             Q.        Okay.
16                       Well, they asked you to pass your boards.
17         right?     They wanted you to do that, they wanted
18         you to do it sooner than the
19             A.        Yes.    But once again, that was a
20         discriminatory act because nobody else was
21         required to have their boards in the fellowship
22         program.       In fact, another fellow failed her
23         boards, and that was not an issue for them.
24             Q.        And then the fellowship program, you do
25         agree that you had to ultimately meet standards.


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                                    Alison O'Donnell
                                         8/4/2017

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1          right?
2              A.      Correct.
3              Q.      Everybody had to?
4              A.      Yes.    Although, they made mine different
 5         from everyone else's.           But, yes, standards should
 6         be met in the program.
 7                     MR. CAMPBELL:        Let's take a short break.
 8         I think we're just about done here.
 9                       (Recess taken.)
10             Q.      Okay.
11                     Let me just ask you a couple final
12         questions on this,          The witnesses          your other
13         fellows, anybody else?
14             A.      Not that I know of at the time.
15             Q.      And if we talk about your                just to
16         verify, from early 2013, you've been working
17         full-time, right?
18             A.        I believe so, yes.
19             Q.        And most certainly, if the fellowship
20         would have been extended by six months, or by
21         whatever amount of time, you earned more leaving
22         the fellowship program at Ohio Health than you
23         would have in the fellowship program, at least for
24         that period of time, right?
25             A.        I believe so, but I don't know off the


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t2-nrr;:ru5-4-^?^‘,';.-,-<‘.r.U5r-,r5r-:'.'^;-3-j'a»j=';^ *^•1   _____________ ____ _^i'.'5-i:i.3C Trr^;rv.'ra^-/rv.-


                                                                                                                                         KSSSiOiBS   iifi

                                                                                                                                                                                   f




                                                                                                                                         Allison Matthews
                                                                                                                                         13700 Shaker Blvd. #210
                                                                                                                                         Cleveland, OH 44120




12/16/2012


                                                                                                                                                                                   t
To V/hom It May Concern;


1 hereby lender ni)' resignation from the Pediatric Endocrinology Fellowship program.




Thank You,




Allison Matthews                                                                                                                                                                   i




                                                                                                                                                                                   !




                                                                                                                              deposition
                                                                                                                               EXHIBIT
                                                                                                                                3                                  0'0onne!l 333
                                                                                                                        Sa.
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                                Case Western Re •IV e Uiwersily
                                                              _           ,
                    University Hospitals / Rainbow Babies & Childrens Hospital

                            DIVISIOW OF PEDIATRIC ENDOCRINOLOGY

                                 EXPECTATIONS OF FELLOWS

A. TRANSmON INTO THE FELLOWSHIP:
  o    Wp. anticioate incoming fellows will face many challenges in transitioning Tromi^sidency
       lining which is broadly focused on general pediatric practice, to feliov/ship training in a
       subsoecialty. with its narrower scope but greater depth.
   « fn Sdrtion Changing to a new geographic location and institution, as well sv^ching from the
       mode of a competent senior resident to that of a novice feilow can also be challenging
   » Members of the faculty, existing fellows, nurses and allied staff in tlie division ae great
        resources in facilitating a smooth transition fonncoming fellows.          _          ^       .
   . New fe^virs are expected and encouraged to actively seek help from their peers and others in
        the division in any matter they have doubts about
    « In turn, as fellows become more experienced, tney are expected to offer a helping hand to
        their oeers and others around them.                                                   ,
    .. Members of the division take pride in their collegia! working relationships and expect all
         Members ^                          responsibilities and actively conxnbute to the maintenance of
         physician
         a positive working environment.


 B. OVERr\LL EXPECTATIONS;
              TK^   nf the fellowship program in pediatric endocrinology at UH Rainbow Babies &
      ■       SdSospM is TO^RAIN QUALIFiL CA,MDIDATES AND PREPARE THEM FOR
                                                              demonstrate INITIATIVE IN THEIR
      "       eduAtiSnAL PURSUIT TOWARD DEVELOPING COMPREHENSIVE CLINICAL
              knowledge AND SCHOLASTIC SKILLS, utilizing the resources provided and active self-

              ft H MD^ied'ttat every fellow will have a firsHauthored peer-reviewed puMcafion resulting
              front meff esearoh pr^ect by the time he/she has completed fellowship training. In addition
              SlovS ffe encouray to collaboiate with members of the faculty in publishing review artolea
              and oresenting abstracts at national meetings.                                     n      r
          0   We
                   expect all fellows to meet eligibility requirements specified by the American Board of
               PedSL including clinical competence and scholarly acbvity work Produ^ and PASS THE
               pIdiItRIC ENDOCRINOLOGY SUB-SPECIALTY BOARD CERTIHCATION
               examination.



  C. BCPECTATIONS IN THE OUT-PATiENT CLINICS:

  Before clinic:
         Review your schedule several days in advance, as well as the evening before schedules
         might have changed.
         Review available records in parient charts. If necessary records are not in chart, work with
         chart room personnel to obtain them.         ______
                                                            DEPOSITION
                                                              EXHIBIT
                                                                                              UH000331
                                                          s
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   • Read up on interesting diagnoses you vviii encjounter in dinic the following day—first in the
     textbook, then seek review ait'ctes and relevant pnmary Irterature.

At clinic:
    • Even if you have unfilled slots, make it a point to be at clinic at 8:00 AM (Landerbrook, Lane)
        or 8:30 AM (Westlake. Medina).
    • If and when you have open slots, no-shows                                   . .
            o Look at schedules of attendings and seek mteresting pateiits to see. This will enhance
                vourdinical experience and greatly help in maintaining clinic flow.           ....
            o Look out and hdp co-fellows vriio have fell schedules and may be naming behind,
            o Look out and help diabetes nurses who may be running behind.
     . Time yourself appropriately with the patient, leaving yourself enough time to gel a history,
        perform an examination and precept with an att^ding.
     • ^Prescriptions =.,are
                          c best filled at clinic, rather than having to call them in later.^
     • Complete the _  “Consultation     Response Letter" on new patients and fax to refemng PCP before
     . Sr4°Slnio encounter before you leave onnic. Since the Infomration b tier* ta your mind,
       your dictated record will be more acxxiraie and the process of dictation wjU be effcienL

            o It tea means of communication with the refening PCP, and among other colleagues.
            o The dictated note should permit efficient review of past encounters.
            o It should reflect the level of billing for the patient enrounter, in doc^merfeng the extent
               of history physical examination points and complexity of medical decision making,
            o CorSuSonLnd new patients need detailed dictatior®. feHow-u^ can be con^a
            O The assessment should be detailed, and reflect your thinking of the patient’s problems
               and factors contributing to them.
            o Consider documenting the assessment and recommend^on^pten sections as a
               numbered list, to ensure comprehensiveness and ease of readability.
             o The dictated note is part of the permanent legal record for that patient
             o All medical records must be accurate, timely, reliable and properly maintained in
                accordance with the UH document retention policy.

        °""Sp a running list of patient diagnoses you have encountered, dassffied by endocrine
      . K a!Srf^n“5™ SM in clinic, along with labs and other studies ordered
      . RedewS^enfslabswithtl>eatfendingwhosawthepaaentwith,yoo,wrmw2WEEKSOF
         the                       personally read bone age x-eays you order, with the attending
       • Make it a
         who saw             electronically, incorporating results of labs and radiographic studies.
       • Edit your                   .
         review with attending and sign.

    D. EXPECTATIONS ON THE IN-PATIENT SERVICE AND CONSULTATIONS:
       . Pre-round on patients on the endocrine service and active consults, and update your notes
         prior to rounding with attending.                      .j.
       . rnordinate rounds with diabetes nurse educators and dietician. . . .                    .
         Fellows in their second and third year of training are expected to take the lead in running
       * S^ly vrard rounds, completing and following up on consultations, ana coordinating multi­
         disciplinary discussions when necessary.


                                                                                                 UH000332
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 • Rewew
               consultation notes from other spedaHsts who have been asked to provide input on
 , ?,^^S^™MA«ESSHOULDBED,OTATEDmES«EEVEN»®AS™EPATTENfSDBOmR6E.




 “ A             rfftafacultv in tim^y submission of in-patient bilTmg documents.
 I bSper cmxsshould beanswered promptly, irrespective^ whemerthe call is from office
 • BEEPER CALii _ __i-prs of the medical staff or patients and their families.
   per^nn^ offier mem         j        ^. expecLi that fellows will consull their supervising
 • SinTforlll                                               of the corffent of phone calls must
    S fenIw!^OTme ^^re^i?with the management of most endocrinedso^srs in general
  . As fenov®                                      independence in answering beeper calls.
    H^eS- Si aSdoils to^e endocrine service as well ^ consultations fern other services
    !JS be Kimmunicated with and staffed by the attending in a timely manner.

E. EXPECTATIONS AT EDUCATIONAL AND ADMINISTRATIVE MEETINGS:
    ATTPWnANCE IS COMPULSORY at all weekly divisional conferences ami other required
  • tSoXndadmYnTstrativemee
    attending national meetings.
  I                                                         they have assigned topics or
   .                                               -- EXPECTEDTO COKTRIBUTC AS ACTIVE

                                        teWng, fellows ate expected to piav^ wcreasto role in
   *         ™^ENLY DMSIONAL CONFERENCE. Senior fellows are expecM to wortc in
     SncU™ vAh Mr ^rvlsing atterrding in deciding on the content of the weekly
     conference and                               CRSP-401 course and the monthly
   ’ d^Mtonfel Fellowship Core Curriculum lectures. Attendance is monitored by the fellowship
           coordinator and program director.

 F. EXPECTATIONS REGARDING FELLOWS* SELF-EDUCATION:



                iXok%SirEndMnol^ 3" Edttlon; Spertng M. edlton Saunders Elsevier,




       . !|StS?Hospitals Core Library offers online access to a variety of texbooKs and
            T^R^nbow Pediatric Ubiaty has many printed journals, as well as a dedicated librarian who
       ’    can isist in literature searches and requesting articles via inter-library loan.


                                                                                           UH000333
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   • Fellows are
               Performance in the SITE is a good
                                            i_   predictor of success in flie Pediatnc Endocnnology
                                                                ■ ■■ of training.
       Sub-speciaHy Board Certification Examination upon completion


G. EXPECTATIONS IN RESEARCH:

All fellows                                                                    lnv«i scholariy

imprmlement; bioethics; education; and public policy.



                      me UH^^nbow Batnas & ChM^n's Hospdal prearam.




         at Case Western Reserve                   rfioulate a RESEARCH PROJECT imT SPANS A



                                                                                                  6



          researdi.



      • SEi=trsE=r^-=s^"""“"
              5mJ?      thfTfeiiow’s research projects. The fellow reads more, narrows down the
                                           Dr. GubitoshKIug and Dr. Uli in orderto make afinal choice
          on the                 ^: their first year, during which time they are expected to
       • Fellows have a 3-mon      „™e»r4 fnrmniate a hvoothesis or question and sfrongly
          develop       '^I'^^eLiaiy groundwoitcto^ni Implemerting the pitjecl. Thte
                           Imert^e piotS^S and InstituUonal Review Board ORB) dements
          ™^SbSn^             a conanLis 12Hnonth block (second half of^ second year and
        ' JSh^rfXMidyearldedicatedtoimplarnentingtherasearchprojecL




                                                                                             UH000334
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ObUgaaons                                          (24 mor4ha on fte reaearah-irtenalve
  ■                                        track), ta fall* baa deoraa^rfraM
     obligaSons inotdsrTOENSURE-mATBOltOF-mETIMECANSEDEDlOATEDTOREareH.



                      ap^mately one e^of 4^ weekends throughout the duraton of their
      fellowship   ^1, be on campus fer the entirety of emery woildng day during their
    • !^S^ntwSG?ROMHaEONRESEARCHPROJECTSISNOT



    . S5"^^^'Sravallabletoanswerclin,calgues«onspe,t=M^
        continuity patients.
 Overalghtoffellowr^rt=^M“=                                             (SOG)thatIs unique to
   ’                AmertcSiard of Pediatrics (ABP) specifies that the SOC SHOULD BE IN
     existence for a minimum of 2 YEARS.                                           -nrl
   .         is responsible for overseeing and assessing the progress of each feHow and

     • The SO                        discipune; the fellov/shipprograni director may serve as a
         OUTSIDE THE SUBSPECIALTY
        trainee's mentor and participate in the activities of the oversght committee, but should not be a
        ??SSrecSHWTHE SOC MEETS 2 OR MORE TIMES EVERY YEAR to discuss and
      ■ JoSSS MiXeseafeh pragrass and priwida feedback to the Program Director.




      . S^Sl°l!S^ram tods'L rasearch time of fellows on fee rasearcWntensNe




    ExpectaUons Irolll                  OF HIS OR HER RESEARCH PROJECTTO
       ‘ Tlffi DMsfoN^ISiW^NCE EVERY 6 MONTHS, at the various stages of the project
         wudlng planrtng.                                           conferences, in
       ■ oSSSLSSons and input tram fee dMsienal faculty, other fellows and members
        . ?i!CSSe fellow researah piojectwill result in a specific written-WDrit praducl" in
          order to meet eligibity criteria for board certification.


                                                                                                  UH000335
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  O WE
    reviewed

           including poster sessions and oral presentations.

H. PROGRESSION OF
                            FELLOW RESPONSIBILITIES OVER THE TRAINING PERIOD:


                      warning fellovra win tuncBon at the level of a novice in the pracfice of pediatric
           endocrinology.
   ,
                               in their fraining,
           As fellows progress in           -
                                                  they wfll develop competency and profidency hi managing




   .        The fanW               ^        ^              33 3^,133 3„ the m-pahent senace.

                 t ?^T'=SS=5SS."r£S..~~~
               Fell^tre^^' damonslrale IniBative in seMtected teaming, which fonns the baste

       .                               te ftS' 2 months will cover a wide range of basic topics in

       .       ?S“c^t3^°"^lheteidbookafPediaMcEndocnnolcgy(Spernng.ed^^^^

       . ;S2,Si°make^^*edivisi0hal library, depamnental^
       ' ioumals and inter-tibrary loan system in expanding their knowiedge                _
       . ’-^dilistonarSnfarances, texbook chapter r™^ se^^ ^                               ^



                wU^t^d^lar tois of disease. cBnical manitestatiDns. cemprehenswa management and
                recent advances.




                hv their mentor and Scientific Oversight Committee (SOC).
           .    K te eSl^hm the research project vyill result In a fimt.authored paper as well as
                presentations at national scientific meetings.


                                                                                                    UH000336
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   ■ roles in both clinicpl and non-dinicai areas.
  • Examples indude:
         o                   mulfrdisclpiinary rounds on the wards when needed.
              PnRiirinaoatienl prescriptions are filled in a bmely manner.
         O                            in cha^e of schedulingthe weekly dhnsional conferences, m
              coQaboration wifli members of tire feculty.

I. OPPORTUNITY TO PARTICIPATE AT DIABETES CAMP:



fun. residential sel^ng. C^mp^ ” ^ is orovided by voluntary attending staff from vanous
of August                             pediSric a^d^ull endocrinologists- Trainees (fellows in pediatnc
incttti itions in Cleveland, induding p oedlatrics.internalmedianeanalamny
institutions_.,iripnfein                          internal medidne and famHy medicine)
                                                                               mcuiv...=/ are an integral
 ®"‘‘                        toSo tte multiple needs of campers, which range from mmor general
 part of the mediral teain.          ^                           j^ntrol. White at camp, trainees woric
 STwl^lHS!^liSSp««arys,aff%ndarounderthasup^^^^
times.
 Fellows in                                                             S^”^^ce is a
                           .ran oomplemant and «,hance fellor^'exper^^ m dratete
 ^^iS'edurraBonalresrsno^™^™^--—
 dinics.                face on a daily Lsis^Fellows will gain significant knowledge in
 arose rdilldren and                        trends in reat-ame, pararxrlartiftheaffe.* of
 diabetes managem^ W oi^W “““ 9^                                  modrfifing the various

 few days in a sylvan setting can be quite relaxing!

  J. SUB-SPECIALTY BOARD CERTIFICATION:

      •    SUB-SPECIALTY                         gg^^^’^^ERESsiT^FOR
                                                            ™Sffect                      in their
           ?rSS!c CAREERS Only individuals who are international medical graduat^ and are



                                                                                       certification

             r i.vai crfiftdules to facifitate fellows in taking their examinations.



                     cS^WlCATION EXAKtiNATlON.

                                                                                                UH000337
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K. PROFESSJOtiJsa- APPEARANCE:
^is is detailed in Section HR-66 of the Univeisity Hospitals Poficy & Procedure Mamiai; revised
August 2010)
Policy:
   .' UH beneves that a dean and professional personal api^ran^ sete a
        image. This polity provides guidelines defining appropnate professional appearance
      ®^"^nizes that different applications of this policy may be necessa^^ depenrfing on the
    • UH recc^ r«»Hont mntaCL customer contact, nature of work, and potential safdy issues.
    . Sii^e^iam^liare unsure about the appropriatene^ ^ thdr attire must consult with
      their immediate supervisor or Human Resources before weanng the item.

 Professional Appearance Standards:
              dress: Appropriate business attire is required at all times.

 1 inacceotable dress:

        : Sr.lt            halSps; lovMut tubeto,^; o«*^h^lder tanks; tanksw«hout ajackeU
          rmnned shirts/midfiffs; undershirts; muscle shirts, flannel shirts.
          Shoi- Flip flops bare feet, slippers, open-badc beach-type shoes, casual sandals casual
                           vrth the OStih Bleodbon« Pettogen Standard, only doae {uriuding
          “rmcs”1withoid holes on the shoe top can be worn.                   ...
        .                 Hats or bandana-styla scarvas. EXCEPTIONS: Sungical caps », oparabng
                                        ^Ing (diity. statiwd. ripped, tom, frayed); spaiKtox cloW^;
        • SSg?SSang or saaThmugh dathlng; dolhmg th^
          nmdutfe racial statements, sexual Innuendoes or political vievirpoints.
                              far special accastonsorfbndrafelng events. n.ansgarnantm^annaunca
        " JSS'dS^days. Examples of apprapriate atlira during drasa down days may be jeans,
          sweatshirts, and tee-shirts designed for outerwear.


                             a^rlSt^rmitlad. Athletic sheas are acceptable.

         I j^e°Iy iraSlra^^lonal. uno^sive and deemed safe in patient care areas.
         • VisiWe pierdngs must be unobtrusive.

                department mqui.es a unifem., timriderce membem must adhere to that departmenfs
          . wS.rce membem who want mom unifoims than am issued m^ j^r^ase them at cost
          . WodSrca membem may only purchase unifoims s^c for thesjob dassriicabon.
          • Entity-laundered uniforms must not be worn out of the facility.

                                            to woric in a dean and hygienlo state. ^ employee may be
    All employees are e^^                      ^ offensive, endangem visitom or other staff membem, or
    asked to correct a


                                                                                               UH000338
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which interferes with llie ssfe or efBclent operations of the department The fbiiowing are guideUnes
'""""SSrSSS^^S^ofthebodymuslbecoverad.
   I Sl^^^logne,pe.1<imeorthBuseofanypreductthateinitsanoBoeaUetegrancsmay

            FraSi'J^vrearing respiiatora, Including N^fiHering face-pie^,            that
    •       f”                 surfeoe of Bte face-raece must be clean shaven pnortodonningthe
                               ^ fTem^ wuiing to wear a powered air purifying

    . IS^^rrrED: Extremes m naD color and lengfc, artificial ndte (e.g.. acTiio aails, nail
      IJSps) for employees with regular patient contact or in fwfo handling
    • PERMITTED: Professional organization and service award pins are permitted.

 Procedure:              responsible for interpreting and enforcing dress and grooming standards in their
     •      Managers are
                  Sresponsibility. This includes counseling employees virhose appearance is
            areas I
        . 'SSe2 may be sent home to correct a dress or grooming ^ue. An ^oyee will be paid
          I ins^eduled paid time off or vacation hours, if available, or will be unpa^.
        • Repeated vio^ons of this policy may result in progressive corrective action up to and
          including discharge.




  Naveen K. Uli, MD
  March 14,2012




                                                                                                 UH000339
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CONF!DKNT!AL
                                                                                                   ^•>1


                                                                                                   /’■«S




                      Confidential employee related medical Information.


   March 22, 2012

   Alison Matthews
   13700 Shaker Boulevard
   Cleveland, OH 44120                                   .
   Re; Request for Reasonable Accommodatian

   Dear AJison:
   On March 19,2012, you informed William Rebello, Manager, Graduate Medical
   Education of a disability and/or medical condition and requested an accommodation(s) in
   order to perform the essentia! functions of your position. You completed the ADA
   Reasonable Accommodation Form which will allow us to engage in an interactive
   process and to discuss your disability and/or medical condition with you.
   University Hospital complies with the American 'with Disabilities Act (ADA), the American
   with Disabilities Amendments Act (ADAAA), and ail other applicable laws, in order for us
   to evaluate your request for an accommodation, we will need following items from you;
   1. Complete the attached Authorization to Release Medical Information Form.
   This will allow us to communicate with your health care provider/physician. Please
   provide a copy of this authorization to your health care provider/physician.
   2. Have your health care provider/physician complete the attached Heath Care
   Provider/Physician Certification Form. Please have your treating health care
   provider/physician complete the Heath Care Provider Certification Form and describe
   how your medical condition/disability affects your ability to perform the essential
   functions of your position. This form can be sent directly to Mary Wilson, Patient Care
   Advocate in our Corporate Health Department, 11100 Euclid Avenue, Mail Stop: 6029,
   Cleveland, OH 44106
    3. Confidentiality Statement All employee medical information is treated as
    confidential by University Hospitals. Medical Information is maintained separately from
    an employee's personnel file. Specific medical information is not shared with an
    employee’s manager or supervisor. Managers and supervisors will only be informed of
    the nature of the accommodation(s) and/or restriction(s) needed. As such, we ask that
    you not discuss your medical condition with your manager or supervisor.
    Once we have received the above information, we will evaluate any restriction(s) and/or
    accommodation(s) request and respond to you accordingly.
    Should you have any questions, please do not hesitate to contact me at 216-844-3426.

    Sincerely.
                 N,




    Julip Chester                                     DEPOSITION
    Director, Human Resources                           EXHIBIT

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     CONFIDENTIAL




        Please answer the following the questions to help us determine whether the above
        named employee has a qualifying disability and whether the employee needs a
        reasonable accommodation In order to perform the essential functions of higher
        position.

               1. Does the err^loyee hpye disabili^ that substantially limits one or more major
P'                Reactivities? Yes Rf NoQ

                   If yes. descntie the disability and any Omltation(s) in detail?
                         ^OiAU PHoliVA
r                       '7>\       OOuTi'e-fi .‘nJ           OfvJy^rOou3 Id
                                                                              ♦Ttro ATi>=>ro ^
               2. Does the employee use any mitigating measures (e.g., medications, assistive
                  technologies, etc.) Yes   NoM

                   If yes, how does the mitigating measure affect the disability?
r

               3. Does the disability affect the employee’s ability to perform any one of the
                 essential functions of the position? Yes ® NoQ

                   If yes, please describe the impact on the person's ability to perform any specific
                   essential function(s). p u 0.U i c- £. C" t A vc.’ P r            Ar      oA jt &
                   Cc>(\f


               4. Are there any restrictlonfs) and/or accommodation(s) that would allow the
                  employee to perform the essential functions of the position? Yes [S No □

                   It yes, please list the restriction(s) and/or accommodation(s).
                                              (Vn=>1/   \c>                             I         X       A
                                                    UCX/5«_    (jO----^
               I     I                                                \j        -i_         ^    uy           ^
               5. iVthe need for accommodation likely to be temporary or pernnanent?                 ’
p                Temporary □ Penmnent ^                                     Wjl                    c2^

                   If temporary, how long do yot^sU^tetihattfi^eed for the restriction{s) and/or
                   accommodation(s) will last?

                   /XNJUOfi
       ^rih^re of Hmdth Care
                        i    Provfder/Physician                                        -h W .         k

       Date:
                                                              ^/^
p
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From: Uli, Naveen
Sent;, Thursday, March 22, 2012 5:37 PM
To; Rebello, Wiinam
Cc: Kaminski, Beth                      .      ^
Subject: RE: lob Description for Pediatnc hndo reliow

Will:
Here is a list of what I consider essential functions of a fellow in pediatric endocrinology:

     « Obtain focused history; perform directed physical examination; fommlate and prioii itize dilTerential
       diagnoses based on patient information,. current scientific evidence
                                                                        _     and_ sound clunciil juQ.gment on all
       patients seen in the out-patient clinics and in-patient consultation service.

     o Precept all patients with a member of the attending faculty in a timely manner, discussing clinical findings
       and incorporating results of all available ancillary investigations.                                     '

     ® Counsel patients and their families regarding diagnostic and management plans. Comimimcate clinical
       ironression and results of investigations to patients and their families effectively and at the appropnate
       developmental/educational level. Be a strong advocate for quality patient care and identify appropnate
       resources to address patient needs. Take ownership and responsibility for ongoing patient caie.

        Maintain accurate, timely, complete and legible medical records.

         Acquire sound foundation of knowledge with adequate scope and depth in the various subspecialty
         diaCTOses, including basic science and clinical endocrinology. Use self-reflection to idenfafy areas of _
         knovriedge deficits, utilize available resources and demonstrate initiative m consistent selt-directed leammg.
         Demonstrate critical thinking skills in evaluating medical literature.

         Actively participate in all educational sessions of the division, with adequate preparation on assigned topic
         presentations. Take an active role in educating medical students, residents, nurses and other medical
         personnel.
         Seek opportunities to strengthen knowledge and skills. Accept feedback appropriately and act on areas
         identified for improvement.

         Actively seek opportunities and collaborate with members of the faculty on Quahty As.sas.sment and Quality
         Inqirovement projects.

         Engage in clinical or basic science research project with substantive scholarly exploration, includmg

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        hypothesis development, execution ofthe project and preparation ofmanuscript for presentation and publication.

      o Demonstrate compassion and respect for ofliers, sensitivity and responsiveness to others’ needs, productive work
        habits and ^ility to fimctian effectively with other members of the health care team.
      • Act with honesty and int^tity, engage in ethical medical practices.

      • Develqp the knowledge, clinical abilities, interpersonal and cammunication skills to function effectively in the role of
        a sub-specialty consultant


1 hope this is adequate.

Thanks,
Naveen


From: Rebeiio, William
Sent: Thursday, March 22,2012 2:53 PM
To: UH, Naveen
Subject: RE; Job Description for Pediatric Endo Fellow

Can you narrow this down to the essential functions of a fellow In your program.

Will Rebello, MBA               _
Manager, Graduate Medical Education
Ph; 216-844-3889
Fax: 216-844-1949



 From: Uli, Naveen
 Sent: Wednesday, March 21, 2012 2:01 PM
 To: Rebeiio, William
 Subject: RE: Job Description for Pediatric Endo Fellow
    I do not have a “job description', per se, but last year, I developed a dcroi^ent titl^ “Expectations of Fellows',
    which I recently updated. I have attached this document Let me know if this is suffiaent

    Naveen Uli


    From: Rdiello, William
    Srait: Wednesday, March 21,201212:34 PM
    To; Ull, Naveen
    Ca Dunsworth, Rebecca
    Subject: FW: Job Description for Pediatric Endo Fellow

    Can you send us something?

    Will Rebello. MBA               .
    Manager, Graduate Medical Education
    Ph: 216-844-3889
    Fax; 216-844-1949




     3/23/2012                                                                                                 UH000345
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University Hospitals




     June 14,2012

     Alison Matthews, M.D.
     13700 Shaker Blvd, #210
     Cleveland, OH 44120


     RE; Request for Reasonable Accommodation


     Dear Dr. Matthews;

     I am v^riting in response to your request for an accommodation to perform the
     essential functions of your position. Your health care provider's certification
     dated May 13, 2012, states that you ha'/e the following restrictions and/or need
     the following accommodations:

                ”   Not to evaluate your performance in Case Conference, particularly
                    unrehearsed for toe rest of your fellowship.

     We have discussed these restriction(s) and/or accommodation(s) requests on
     several occasions in an effort to evaluate wiiether University Hospital Case
     Medical Center (UHCMC) can reasonably provide an accommodation to you that
     will allow you to perform the essentia! functions of your position.

     The essential functions of your position as a fellow in the Pediatric Endocrinology
     Program include attendance at all weekly divisional conferences; contributing as
     a participant in the discussions; and playing an increasing role in running the
     conferences. As a fellow, it is essential to be able to engage in discussions
     spanning a wide range of endocrine disorde-m of broad scope and of sufficient
     depth, as it assists in developing competency and proficiency in managing
     complex endocrine disorders, and allows the attendings to monitor progress in
     the program and the fellov/s ability to practice independently and without direct
     supervision. The fellow’s participation in the case studies and discussions is
     used to evaluate the fellow and determine program progress, knowledge base,
     and decision making ability In conjunction with clinical skills.

     After a careful review of your request, we have determined that we are unable to
     provide you with a reasonable accommodation at this time because the
     conference participation is an essential function of your position, and the
     attendings must have the ability to evaluate the fellows in this milieu as noted
     above.


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  Since we are unable to permanently accommodate you reasonably in your
  cuirent posifion tor the length of your fellowship, you will begin a l^ive of
  ab^nce b^innlng July 1,2012, which is toe start of toe fellowship             I will
  make contact toe Program Director to Initiate toe leave of absence pe^tenvork.
  Your health care provider reported that you are currently undergoing tre^ment
  and shovwng some |w<^ress. Our hope is that you continue to prc^r^ smd can
  return to the fellowship program. In order to provide you time to felly confer
  this letter and its imp^ on your fellowship. UHCMC wfll continue to tenqxjrarily
  provide the requested accommodation until the end of the current li^lowshp
  year, June 30,2012.
   Should you have any questions, please contact me at 216-844-3426.

   Sincerely,

   CluUl CJubUC^
   Jufi^hester
   Director, Human Resources                                                                      ;




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     Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 97 of 162. PageID #: 254

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                       Hospitals
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                    Alison Matftews
                    13700 SlialGBr Boulevard Apt 210
                    CIevdand,OH 44120
                    ITearAllsoo;

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                    ff you have any quesdons plrase contact toe HR Wellness Center at 1*877-HR1-Place
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r*                  Corporate Health office.
                    Sinceidiy,

                   HR WeRaess Center
                   Chiversity Hospitals
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                                   Ej University Hospitals'
                                      Case Medical Center                                                                                                                            i


                                             Rainbow Babies
                                           & Cliildren'5 Hospital



                                Case Western Reserve University / University Hospitals Case Medical Center
                                               UH Rainbow Babies & Children’s Hospital

                                                                       FELLOWSHIP IN PEDIATRIC ENDOCRINOLOGY


                                                                                  REMEDlATiOhl PLAN FOR ALISON MATTHEWS

                1 met W'ith Aiison Matthews on June 29, 2011 to discuss the following matters;

                Ciinical evaluations from 6 faculty members for the period January through June 2011 (NU, TZ,
                 LC. DSK, MK. SNT
                 Deficiencies noted v^ere as follows:
                         Inadequate progress over her first year as a fellow in clinical knowledge and skills
  c\c.xtU.^             Need for more detail in collecting necessary clinical information and thinking through
                ^       differential diagnoses
       ■ Std,
'n ftvt«                       |-QP niore detailed documentation of clinical information and decision making
4gn-''g                  Need for timeliness in review'ing OLil-palient charts Vv^ith attendings i.’         '■ ■                                                                                               O
                         Lack of engagement during divisional conferences
                         Literature search and critical topic reviews need to be more detaii-orienled and at the
                         level of a fellov;               '

                Performance on the Sub-soecialtv In-Traininq Examination:
                ---------------------------------------------------------------------------------------------------------------------- 3-----------------------------------           A
                Score 46% (68 out of 146 questions)
                       Well below national average (58 ± 8; n=82)                                                                                                                          r
                                                                                                                                                                                    d'j"
                Evaluation of topic presentation (levothvroxine treatment for urticaria);
                Need lo be more focused and detailed                           __
                 Research project:
                                                                                                                                                                                               ,-c^
                 Need to finalize project on vitamin D status of newborns

                The remediation plan discussed was as follows;
                   1. Should put more attention to detail in clinical evaluations (history, examination.
                 ■    laboratory assessment, diffreneiia) diagnoses, and management plans), documentation
                      of chart notes and communications with families of patients and other staff.
                                                                                                                DEPOSITION
                   2. Should prioritize chart reviews with attendings within 2-3 weeks of clinic encounter.
                                                                                                                  EXHIBIT
                   3. Expand knowledge base beyond Sperling textbook, seek review articles and primary
                      literature.
                   4. In-depth topic reviews, paying attention to the methods sections of papers, statistical
                      tools used and validity of conclusions reached.
                   5. Be more vocal during divisional conferences in case discussions and literature reviews.
                      Should be an active participant.
                   6. Actively participate in texTbook review sessions.                                         ^
                   7. Over the next 2 weeks, write detailed background material for research project, with^t^ . i
                      extensive literature review. Discuss with TZ, RGK, LC and myself.


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             Additional resources identified to assist Alison; .                .                                     f^ir.

                1, 1 will meet with her once every 2 weeks (more frequently if she' needs it or vrants it) to
                    discuss a variety of clinical cases in-def^.
               2. Prep-Endo questions to help her with preparation for SITE and Boards,
             How progress will be tracked:
               1. My own observations and input frpm other faculty, regarding’ performance at and after
                   clinics, during clinical on-call service and at divisional’rounds'.' •          ' ’
               2. Performance on the SITE in March 2012.
               3. Input from divisional nurses and yvard house-staff.




                                                                   Date:; 0^1 ‘>f/ 3^11

             Nav^ Uli, MD



             I agree that I met with Dr. Uli and we discussed the above mentioned matters.


                                                                   Date: ^ / "1 / ^//
                                                                                                                      .rtt.

             Alison Matthews, MD

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                 Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 104 of 162. PageID #: 261




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 Utilizes clinical gnSdelme^carc patbs effectively wien appropnnte


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 focir Mtfa S-e organizations and advocates on the patient s behalf

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 frotn one anotitcr, including methods for controlling health care costs and                                          "m
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  Comments:




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     Communicates effectively with patients and families                                                                             a-:


     Maintains accurate, timely, complete and legible medical records


      Identifies self and ofoer members qf the health care team & explains roles
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      Use appropriate language at Che proper developmental Icvel/oducational
      level for patient, care givers, and family mombcis                                                                           as
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      Uses effective listening skills to elicit rnforntation                                                                                  12
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       Commanicates with patient and caregiver in foe appropriate setting


       Communicates with refoning providers through fecc-to-fece mcetins,
       dictated letters and, if •warranted, phone calls in a concise and timely                                                  '■yi'-y
       fashion

          jmments;
                 Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 105 of 162. PageID #: 262




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 igh regular attendance at conferences and reading medical Iherature


  iments:




  SUMMARY COMMENTS:

  Strengths:
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         Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 106 of 162. PageID #: 263




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                                       above            nt        below the level expected for hisOier levd of training
  The fellow’s perfbrniance was


                                                     review by the Pediatric Endocrinology Education Committee? Yes__ No_
   Should *is fellow’s performance receive special


   The evalumc<s)Mddisqussfee evaluation vri* tec                         . After tius discussion occurs, please have the fellow and

   the feculty evaluator sign below.
                                                                            Date
    Faculty Evahjator__
                                                                           Date
    Fellow Evaluated^
                                                        Uli, Division ofPeMatric Endocrinology and Metabolism, XB&C 737
             Please return compietedfirm to Naveat K.
               Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 107 of 162. PageID #: 264




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    Counsels and educates patients
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                 Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 108 of 162. PageID #: 265



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  lise and assimilate sciendbc evidence and improve paticm tare pracligs
  rires knowledge througb utilization of appropriate resources (c.g.                            X
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  rpts feedback appropriately and acts on areas identified for
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  :s opportunities to strengthen knowledge and skills
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   aments:
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                     Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 109 of 162. PageID #: 266




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   Comments:




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        Communicates effectively with patients and families                                                                                            \

        Maintains accurate, timely, complete and legible medical records
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                                                                                                                                                Ldh*a.:


                                                           care team & explains roles
         Identifies self and other members of die health
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        ’^appropriate language at die prop^ develo^entai ievel/cducational
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         levclS- patient, care givers, and feraily members                                                                                                 ,v>:


         Uses effective listening skills to elicit mformatioa
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          Comihunicates'-..v,Tth referring_ providers ftrough face-to-fecc mesons,
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          dictated letters and, ifwarranted, phone calls m
           feshion                                _______

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                 Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 110 of 162. PageID #: 267




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 s ownership and responsibility for patient care                                                                  r<



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 onds positively lo consn-uedve criticism


 rrstands role of peer review as it relates to professional accountability                                                                        X
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 :rstands role of expected professional behavior of a consultant                                                  X

 .onstrates a coinmitmcnt lo on-going professional development                                     X
 igh regular attendance st conferences and reading medical iiterdturc


 irtients;

 w dictated chart notes have had a long lag time between the date of clinic and tlie date the letter is presented to me to sign.




 SUMMARY COMMEOTS:

 Sfcrengths;

             Allison’s ora! sign-out of patients in clinic is organized and succbcL                     ^
             With few exceptions, Allik>n’s dictated dinic chart notes arc well-organized rmd well-wntten.
             Allison is always pleasant, polite, and respectful, has a pleasant calm demeanor, and is receptiw to feedback. I admire
             A.nison's abliity to stay calm and eyen-keclcd; she nevrer seems to get anxious or upset!
           Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 111 of 162. PageID #: 268




       Swpere




Specific goals fe xwja 6 nionfhs:




           encoiffita observed in its entirety on (daus):
 Patient


                                                            at   X below the level expected for hisrtier leva of training
  The fellow’s performance was              above


                                                      iew by the Pediatric Endocrinology Education CoaBimttEc? Yes          Wo
  Should this fellow's perfonnance receive special review


                                                                               After this discussion ocons, please have the fellow and
                                  tile evahiation with the individoal fdlow.
   The evalualoKs) should discuss
   flic fecul^ evaluator si^ below.




                                                                               Date   6/22/2011
    Faculty Evaluator__
                                                                               Dale
     Fellow Evaluated__
                              complaedf<»mtol^K. Uli,Piyhian ofPediatric JEndocrinologymdMclaboB^ RB&C737
              Please return
             Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 112 of 162. PageID #: 269




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  Evaluator^
                                                         in which fcBows ihnst develop oompetency during the                                   of
  The ACGME has identified 6 areas (Core Cottpetende^            with vihioh the fellow demoPStn>'.cd the desenbai
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  S^edgdsVdlls/athhidcs during this rotaliore

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Obtains a


Obtains a
            directed physical examination for each of the spedalty' diagnoses                                    s/
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       W        ^r^rtraidyca a differentjai diagnosis based on paoeaii                                    m                  /

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 Provides appropriate health maintenance and preventative measures based
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 on age. ge^risk factors, and developmental stage

 Utilises medical lileretnre and.inform^ teclmdlt^y to Momrand
 support patient care dedsions and to educate paUeaB        ^

                                                    to addicss patient needs
  Identifies appropriate coirramiuty resources

  Obtains appropriate laboratory and ^o^hie^dics to evaluate
  differential diagnoses and establish final dragaoins   ___ ____ _

                        lahoratoiy and radioEmphic studies in a timely feshion
   Obtaim results of

                                Itsults, ipf-hvtmg results of endocrine stimulation
   Accurately interprets test
   tests

    Demonstrates ability to read bone age X-rays


    CoiinselB and educates patients
                                       and fcaflics regarding diagnostic and                                                       s/
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    management plans


     .re)inmcnts'.

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     Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 113 of 162. PageID #: 270




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 Understands basic and clinical science hnd^idnBings                                                                     B
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  Critically evaluates
                            current medical informatioa                                                   / I
   Identifies areas
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   Applies knowledge with .attenuonto
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       CriticaUy evaluates ennrent scientific literature

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       Accepts feedback appropriately and acts on
       improvcniea^t               ____

        Seeks opportunities to strengthen knowledge and skills
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                 Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 115 of 162. PageID #: 272


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     Identifies self and other members of the health
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     Use appropriate langtiege at'
                                     and family membeis
     level for patient, care givers.
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      Uses efeothte listening sUlls to elidt information


      communicates witit patienl and caregiver in the appropriate settmg

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             Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 116 of 162. PageID #: 273




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 Engages in ethical inedical practices

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 Demonstrates prooK'-tt'i’c vrolie habits including panctualiijf. effectiw time
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 Worits effect! veiy viih other members of Ihe health careltsim                                                                      /


  Takes ownership iisdiesponsibnity for patient care
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  Responds posidvcly m coatSmetive criticism                                                                                     M

    hderstends role of peer review as it relates-to professional accouniability
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   Undetsumds role of expected professional behavior of a consdtant

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   Demonsttates a commitment to orngoing profcssioml development
   throu^ regular attciAance at oonfcrcncea and reading medical hlcramre


    Comments:




         SEMMARY COMMEN-rS:
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         Strengths:      „                    ciu-vxoc

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            Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 117 of 162. PageID #: 274




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      The fellow’s peritoiaancc was        above


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       Tlie evalUHior(s) showW disc^
       the&culty evalBatwsignbelow.
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       Faculty EvalDsdor___
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            Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 118 of 162. PageID #: 275




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   ThJS ACXa^ h^s identified 6 ac«as (Cote Competencies) in ^ch fcOows must develop competency during
   tajBin&.Picase check: the boxes fci
   km>w]edge/ddais/attitodcs during this rotation.

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Obtainsa foensed history for each of *c specialty diagnoses we sce


Ofatainsa directed physical «ammHtk.n for earii of Aespecialty dtagnoses                                                                                                 .V

we see
Fomnilates md prioritizes a differential diagnosis on ^ert                                    /
in^iS^ouncot scientific evidence and sound clmcaljodgm^                                                                                                            M'



    ithcsizes evidence in making therapeutic dccisi^ and employs the                          /
 uiempentfc management of chdee for a given woitong thagnostt

 Provides appropriateheaiai maintenance and preventative measures based
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 onngc. gendo-, risk feetPTS, and developmental stage_____________ _                                  1^


 Utilizes medical Uteiatore and mformation technology to infonn and
 support pafiadt care decisions and to educate patients__________
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  Ideitifies appropiriate comaiuinty resources to address patient needs

  Obtains appropriate laboianHy and radio^c ^'es to evaluate                                                                                                 mm
  Obt^tosultsof bbmntoayandradiogr^cstudicsmatimelyfesMcm

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   Accurate interprets                                                                    ■   mi   ... .........................................................




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   Counsels and educates ptewnts and femiiies
   management plans________
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                 Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 119 of 162. PageID #: 276




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ngness to be a life-Jong teanirar                                                                    ■i^m
lies knowledge wiA attenfion to clinical onteome, cost-oflfectivencss,
benefit, and pafient prefisrencfe

       education of stnd£a:4s,aBd-ofltearlieaildi care professkmals


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 EBpeteaqr: ft^acfice-basedLc^mg                                                  <25%       25-49%    50-75%       7M5%            >95%          ITnzblc to
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 jcally evaluates current scientific litBiature
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 opts feedback appropriately and acts on areas identified for
 rovement




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  HiMon fiorn which.ftcir patients are drawn to fbnnulate dedsitras
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  imical studies and otiux it^rea^ion <m <fiagnostic and tha^jcaiUc                                                                                    /
  rctiveness------------------- --------------- --------- ------------------

  rancjits:
                 Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 120 of 162. PageID #: 277




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cHaical care                                                _________________ ____
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Advocates    quality patient: care                                                                                                              2T
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             dmical guidolines/carc paths cMvdy tvbea appropriate
Utilizes                                                                                                                              bl


                                  of tatcrest between .indrvi&ial pafieats and
 Recognizes potential conflicts
                                  and'advocates on the patient s b'clialf
 tlieir health care organizations                                                                                  'try-


                         of medical practice and delivaiy-systems differ                                                                                                      V
 Understands how typos o.
                             methods for controlling heaffii care costs and
 from ono another, ineludiDg
 allocating resources

  CoraiBcnts;




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   effective infotroation cxcbmige with pangg^iggteg!g__---------------                                                                  ''Ti


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   Communicates effectively with patients and families


    Mutate .oom».B«dy. conpfcK »d Icglbl. nrfi»l records
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                                         membon: ofthe health care team & explains roles                                              'A                 k’l
    Identifies self and other

                                              dcvelopmentai level/educational
    Use appropriate language at the pwp«^
    level for patient, care givers, and family members                                                                     Silr^
     Uses effective listening skills to elicit information                                                                           A*
     Communicates with patient and caregiver in the appropriate setting
                                                                                                                                     y
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               Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 121 of 162. PageID #: 278




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gender, and drsjdtflitics


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lonstrates productivc wprkbiibfts including punctuality, effectiYe time
agement, initiative and orgsnisatibn                                                                  i
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’ks afTectivcly widi odier uic:inbGrs ofIJig health care team


es owncrehip and re:^>cmsibiiiiy for patient cate
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oonds positively to conshnetive criticisni                                                                               '?•*■
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lerstands role of peer review as it relates to professional accountsfaiUty


 lerstands role of expected professional behavior of a consultant
                                                                                                             /               -Crv" ^'



 nonstrates a commitment to on-going professional development
 aigh regular attendance at conferences and reading medical literatmr


 nments:




  SUMMAJtY COMMENTS:

  Strengths:
                Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 122 of 162. PageID #: 279




  Areas for            pnd deivelppmeat                                         -        I          ft       0           I V


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       specific goals fin-next S raonths;

                                       \itel/’<2.)




                                                                                                         (Required ^cmce/year)
        Pauent encountsx observed in its entirety on (date):


                                                                              beiow the level expected for hisfter tevd of training
         The fellow’s performance was               above


                                                                             pediatric Endocrinology Educatioa Ccannnttee? Yes
          Should this fellowF’s peiffannaace receive special review by the


           - .evaluatoi(s)should discuss foe evMuatioawithfoe individual^                . After this discussion occutsi please have foe fellow and
          The
          the faculty evaluator^ below.          .
                                                                                                  o4
           Faculty Evalmdar_Sjto,,^^-S> -                            ---------- ------

           Fellow ----------------------------------------------------------------
                                      ^pietedfrnmiom^'S. m,J>f^bionofPedl«mcEndor:rinalogy^dMetubvUsm,’,SB&C737
                 Please return com,
         Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 123 of 162. PageID #: 280




             Case Wfesfera                      B^ies &                    Hospi^



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                                 (Core Competencies) in   which feilov,*s must develop competency d^gthc cocrse of
The ACGME has identafied « areas
                         <Cing tas rotatioa.
               Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 124 of 162. PageID #: 281




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:s a dkecred physicai ejcathipntioB for eadh of the ^tialty diagnoses

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dates and prioritizes a diffetBidial.fri^osis based on patient                         X                                            \.t

sation, curreat scientific evidearcBdod spMd dinicai jud^ent

eskes evidence in tnaMng therapentin dedsions and employs the
.eutic manageroent of choice for a fflven woridng diagnosis

jes appropriate health maintenance and pievcntative measures based
i, gender, risk factors, and developmental stage
                                                                                                          If?
es medical literature and information technology to mfonn and                          ■V
                                                                                        J\.
rt patient care decisions and to educate patients

ifies appropriate community resources to address patient needs                          X
                                                                                                            1
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 ns appropriate labomtoiy and nidiograpliie-studics to evaluate
 ential diagnoses and establish final diagnosis__________________


 JIS results of laboratory and radiograpliic studies in a timely fashion
                                                                              X

 rately interprets test results, bcludmg results of endoenne stimulation       X


 onstrates ability to read bone age X-^ays                                                 X

 isels and educates patients and families regarding diagnostic and                                        3?:
 igemcnt plans                                 ____________ _

  ments- Alison is a very caring and gentle pediatrician. As an endocrine fellow, however, she has nptshown a growth in her .skills
  re                 stM strujes wifo formulating differential diagnoses. Her eharls after chmc are fr^ucntly late and she do« not
  the pas year tihe st       m                                 jU ,             tlie mailbox for me to sign and that is unacceptable.



  lie to offer more dates and times to discuss charts post clinic.
                    Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 125 of 162. PageID #: 282




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 Identjfi^ areas for im:^
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                        ife atleafion to cftrical oidcome, cost-effeefiviaess.
 Applies knowledge wM
 ride benefit, and pafiectprefaence                             ---------

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  FacifitatES
                                                                                                                         0 be (Kseaigagpd dnring tfivisnm cwjfcrences,
  Comments: Alison needs to                                                                                              eed to be at fellow level- curtendy are ata
                                                      Hw jonmal reviews and critical topic reviews n




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                                                                                                 <23%          2549%                                                       evelaate
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      CriticaUy evdiiates curreat scienlifSc literature
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                                                       areas identified fear                      X
      A<                                                                                                                                         M
       impniveanent
                                                                                                   X


                                                  are dravm to fonnnlate dechaons

                                                     information, access ourline                                    X
        medical infoireation and support cwnedncation           _________ ________ ^------



             jcfiveness----------------------------- -
                                                                                                  feedback and make dSafiges based on feedback.
           Comments: Alison specifically needs to feoprove infeis area and be open to
                Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 126 of 162. PageID #: 283




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Blcare

cates for qBaliiy padent care aad assists paSicBls in deaMag v?ith                                       X
n coraplexities
                                                                                                     isji.5
liliar with deKpaatmtalkm criteria for difSaont levels of care                         X

                                                                                                         X
:cs clinical guidelines/care paths effectively wfacan appropriate

                                                                                                              -M
gnixes potential conflicts of interest between individcrd patients and
health oecps organoations and advocates on the patient’s behalf
                                                                                                         T.

.islands how types of medical pracoce and delivery systems differ
 one another, bduding methods for conirolling health care costs and                     X
 adixg resources                 ______ ____________________

 ments;                                    ,      , , ,
 sing more engaged in the field, ABson can learn the above areas by discussior) vrith faculty.




 npetency: Interpersonal and Coinmnnication SkOis                             <25%       25-49%               50-75%               76-95%            >95%         Unable tc
 wlmust dcmonstale •mtetp.^nal and communication sSdlls that result m         oftone     ofrii-oe             of time              of lime           of time      evaluaU

 3VC
     Informatitm exchange witfa patients and colleagues _______ _____

  tnnnicatcs effectively with patients and families                                        X                                             f




  itains accurate, timely, complete and Icgiltic medical records               X                                                  %
                                                                                                                                   :2


  tifies.self and other members of the healtli care team & explains roles                  X                                            ^i!


                                                                                                                                   m
                                                                                                              '•tc!

  appropriate language:atthe proper developmental levcVeducational                         X
  I for patient, care givers, and -feraily membera
                                                                                                                                                iL
                                                                                            X
  ! effective listening skills to elicit infbrmation                                                                               M

  iimmlcatcs with patient and care^er in the appropriate setting                            X
                                                                                                                                      m       2^
                                                                                                                                                fi8

                                                                                                                   iir>
   ummicaies with referring .providers through fece-to-face mcetins,
   ited letters and. ifwarranted, phone calls in a concise and timely            X
   ion                                                                                                             yc’-'


   rtments:
                communicate results to patients whom she sees. She sbouTd take more ownerahip of the patientt under care by
   ;on needs to - - -                    .            , , ,    j' i' stimulaUoTi tersts oenjelf 5o she can lesm the process and tests that
   iag attention to every detail, following tabs,., schedule and plan
   d to be sent She must document phone calls .to patients.
                  Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 127 of 162. PageID #: 284




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 Acts wfthJMmesty aad


 Engages in ethical medical practices

                                                                                                                   S
                                                                                                   X


                                       ibas ofthe health care team                                  X
      Worics effectively with other mem

                                                      Cine                                   X                         Jf;
      Takes ownership              iH                                                                                        ■Viz



                                                                                             X
      Responds positively to constroctive criticism
                                                                                                            •ir


                                          it relates to profession^ accoimtabitiiy           X                    n.
          deistands rote of peer review

       Understands rote of espectedprofessionalbehaviarofacansultaat                                  X

                                                                                                       X


        Comments:




             SUMMARY COMMENTS:

             Strengths:                                                              ;ian.
             Alison is a conipasskmatt
              Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 128 of 162. PageID #: 285




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titicaBy review ftqratare ftff dinsipn pses^^
ake active part ^Wednesday-confe^wes




pediic goals fijT next 6 months;                          .    .
•harts &om clinic to be dictated Immediately and discussed with attending within one week ofpt seen
(e prepared to answa qns during Wednesday coni^ces- Read.
VesH- iab coat in clhnc and hospital service (Professaonalism)




 ’atient encounter observed in its entirety on (date):                                    (Required at once/ycai)



 The fellow’s performance was            above            at       XJielow the level expected for his/her levd of training



 Shonld this fellow’s perfbnnance receive special review by toe Pediatric Bidocrinology Education Committee? Yes_X           No



 The evaluatoifs) shooM <2scuss toe evaluadon with the individtHil feHow. Afierftis dkensaon occurs, please have the feBow and
 toe fecnlty evaluator agn below.
                                                                              Date
 Faculty Evaluator
                                                                             Date
  Fellow Evaluated
         Please reOmt completedform to Naveat K. DU, Division ofPediatric EndocnaolosP andMeiaboSsm. SB&C 737
                    Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 129 of 162. PageID #: 286




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     Fellow’ sFi^ne_____
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     Evaluator_______ _           CtiftML
                                                                                   diJ\'elcip competency daring the course of
              * nr^-t.n’a
                      Wenlfied 6 areas (Core Competencies) in which feliow^s irrjst fellow demonslratcd the described
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      knowledge/sldls/attitudes during tins rotaUon.

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                   Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 130 of 162. PageID #: 287




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                   Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 131 of 162. PageID #: 288




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                    Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 132 of 162. PageID #: 289




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           Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 133 of 162. PageID #: 290




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                                                       review by tbe Pediatric Endocrinology Education Coramtacc? Yes__ Ko
    Should this fellow’s performance receive special


                                                     with the ffidividual fellow. After thb discussion occurs, please have the fellow and
    The evaluaioi(s) should discuss the evaluation
    the faculty evaluator sign below.
                                                                                 Date
     Faculty Evaluator,__________ ^--------------
                                                             Date
     Fellow Evaluated__________________ —
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         Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 134 of 162. PageID #: 291




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          Evaluating Attending

          June 01 2011
    Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 135 of 162. PageID #: 292




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    Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 136 of 162. PageID #: 293




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Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 137 of 162. PageID #: 294
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                Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 141 of 162. PageID #: 298




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                                                                                                      Committee? Yes__ No_ X
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   The evaluatoits) should discuss the
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    Facal^ Evaluat^            wJ                                             Date

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                        Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 144 of 162. PageID #: 301




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     s opportunities to strengthen knowledge and skills                                                                                                            ■/




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 Recognizes potential conflicts
                                 of interest between individual patients and                                                       mW-                                  r.
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                                 and advocates on tlic patient’s behalf
 their health care organizations
                             medical practice and delivery systems differ
  Understands bow l^es ^
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  •from one another, includint3
  allocating resowiciis

   Comments;




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     Communicates effectively witlr patients and frmilies


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      Identifies self and otlmr members of the health

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      Use appropriate langimge at the proper
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 ^ement, midalivc and organization


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     onds positively to constructive criticism
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     jretands role of expected professional behavior of a consultant                                                    i'-'iVl.lvS


     lonstratcs a commitment to oni>oing professionai development
     igh regular attendance at conferences and reading medical IhcraUire
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     iinents:




     SUMMARY COMMENTS;

      Strengths;       Qj                        t
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 Specific goals for next 6 months:
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   Patient encounter observed in hs entirely on (date):


                                               above           at   IP' b«3ow the level expected for his/her level of training
   Tbc fellow’s performance was


                                                          review by foe Pediatdc Endocrinology Education Committee? Yes          'No_
    Should this fcOow’s pciibnnance rec^ special


                                    foe BvahHlipn with the individnal fellow. After this discus^n occtsrs. please have the fellow and
    The evaluator(s) sh°“^£^
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     Faculty Evalnalor
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                   Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 148 of 162. PageID #: 305


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              focused care
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   a                                        clinical, arrd cognate (e.g., epidermologroal and socml-
           established and evol »  application of this knowledge to patient care. Resident is expec
           behavioinl) sauces
           X demonstrate an               clinically sapportiYe sciences which are appropnate to his/her
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  R riinical evaluations were discussed at a meeting by members of the faculty on 2^12. Seveirf



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       °°d^iSe<^byFeteuaiy 1013. Certification of satisfactory completion of feUowship training
       ^ also he based on consensus of flie divisional fecitity.
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    ScBh of f-S (See Bottom)                                                ^
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     Scale of i-S [See Botiwn)
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       Sc3/e of fS {Sec Bottom)
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                                                                                                   3.00 (n=5)                    3.40X0=40)              3.58 (n“18)
           Uses eJfacBve-iiBlsjring sMsto cEdi InlonTraSon                                           60.8%                          68.0%                  71.6%


            Scale of 1-5 (Sea Bottom)
                                                                                            I       2;20(ir-5)                    3.00Xn=1(<l                3,42 (n=l9)
            Ova-sD pe^rm^ace raS^ fof IMs ^eteaq,.                                                    44.0%                          60,S%                     68.4%
            Pfoj^ provfete odtttk^ seovJKaiis-


                                                                                                                                                                     EXHIBIT
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                        - Category SamffgrY (229.45.8%)
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                                                    BvtMabtonaoital.
slWcaianaepWi
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                                                                  1.80 <n=S)             Z90(n=10)         lUlivio)
                                                                   36.0%                   M.0%               e>^%
 «Itwrmaidh/(BssiKJses wir a>o

 ScafoofIS (Sea Bottom)
                                                                  3.20 (n=S)              3.40(n=>im        3.-ttln=1J9>
 U,,,^^„rt30*inrfinu8ch9teno«                                      64.0%                    68.0%              68.4%
 fenfllts w®        *®*®*'®®

  ScaJeof 1^ (See Bottom)                _______
                                                                   2.00 (n=5)             Z80(n=10)          3.05 (n=18)
                                                                    40.0%                   50.0%              61.0%



   Scale of IS (See Bottom)
                                                                                           2.B8ln=8J          3.1Sln°17)
                                                                       ZJSltF=4)
                                                                        45.0%                57.6%              63.6%
   FacStates
   prottssonals


   Scale of         (Sw Bottom)
                                                                       2.60 tn=S)           3.4O0A-1OJ        3w53ln>=19)
    IdaneBe? areas far toipro«n>*n» ot                                   5ZJD%                68.0%             706%.
                              - Btaa4Wem3to0>»»f

       ScaJeof IS (See Bottom)

                                                                        2.40 tn=5)          3.10fr>=lO)        3.21 ln=l3)
                                                                                                                 64.2%
       CiBtaejyav^uoios axrenl twxBcd In*«w>S®’                          46.0%                €2.0%

       Scale of IS (See Bottom)

                                                                        Z2SVf=fl             3.11 <n“9)         3.17 (n=18)
                                                                         450%                  622%               63.4%
       BffBofiwnoss;!

              of IS (See Bottom;


                                                              1          1.80 <n=s)          29O{nf=s®0         2.55 lrp»19)




                                                                                                                       2/28/2012
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                                                                                                          3.00 (n“tO)           3.37(0=131
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                                                                                    48.0%                   60,0%
        oa^a
        S«/eo/f-5fSoeBotto;n)
                                                                                                          330(n=iCf)             3,42(0=19)
                                                                                   260(i>=5)
                                   and mibimattontatOnolW to monn antf                                       6ao%                   68.4%
                                                                                    520%
        .^(ipport patent care


        scale of IS (See Bottom)
                                                                                                           OJZOOrvltJ)           ■3J2S(n“19)
                                                                                    260 (n=6)
                                                                                                             64.0%                  652%.
                                                                                     52.0%



         scale of1-5 (See Bottom;
                                                                                                            2.70(0=10)             321 (n=1B)
                                                                                    220.(0-6)
                                          androdlo9™p»>‘»*tefe.io«te«>J#                                      54.6%                  642%
                   resulte 0» tebrnaoOt                                              44.0%
          bsHon

           Scale Of IS (SB® Boitoin)
                                                                                                             2.90 (n=«9            211 (0=19)
                                                                                        220(0-5)                                     622%
                                                      j«uS» of ofoJoakw                                        68,0%
                                                                                         44.0%


            Scaie of IS (See Bottom)
                                                                                                              350 (n=«              3.38(0=13)
                                                                                        3.00^
                                           tone^X-rays                                   60.0%                 70.0%                    67,6%
            pjjaonstr^ **Wy *B

             Scale of IS (Soc Bottom)
                                                                                                               3.40 (1V40)             3.53{ti»19)
                                                                                         a09(TF6)                                        706%
                                                           ia>oIUte«pec3altr
                                                                                          600%                   68.0%
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             (jlagnosas we CCS.



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            https-y/wvw.myeva
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                                                                                                               Page4ofll




                                                                   2.20
                                                                     44m                                         et2^



                                                                    2.20^                 aw{tj^co              3ai{^8)
                                                                     44.0%                   60.0%               642;%


Scate of         fSfeaBotfowi

                                                                     3.00 (n?4)             3.33 (rr=^          3.68tn=18)
                                                                      6o:o%                   683%                nJ2%



Scaf00f1S^eeBoiU>m)

                                                                     Z76 (n>=<I             3.1 i Cn-^>)         3J2a(n~ie)
 tdooffies ,,p,,,..prtrfc ,epn«nu«(^                                  55.0%'                  ffi.2%                as.6%

 Scate of 7-S (See BotHww;

                                                                      2.80 (obS)            3.20 (n»i0)           3.58(11=19)
                                                                        5S.0%                 S4.0%                 71 .B%
 a«J nw»»08*oort-p«ai«

  Scate of 1-5 (See BfOtsm)

                                                                       200 (o=S)             3.00 (n=10)          3u21 (re=i9)
  Ove«a8 perfornisnco f3&<9 torJKs competenqf.                                                 60.0%                642%
  _     ______ “if..... afff^nfri rrMTtmfwrftr
                                                                        40.0%


  Scats ofl-^HS^eoBottom)


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                    -———I—                                     I     J^J^ata»e»^sS               Group                 Total
      QoestJoo:

      feitows


                                                                        230 (n=+)              322 (n-8)            32ain^BJ
                                                                         50.8%                  84.4%                 65jB%




      ht^-J/wwwji^e.«h3^on^coni/Repom/Admiii/FE/S™8iyGroi5t.asp                                                          2/28G012
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                                                                                                       Pagc:5 of n
           .f                SvaJis^sns




                                                                                                       a53{»-i9>
                                                              4^                      -&L^%             te:^



                                                                                                       3jB8(n=i9)
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SQsOef^ IS (Sea Bottom)
                                                                                      339(n=.H3         3.«S7trvn9)
                                                              2.BQ.^n‘«q
                                                                                       66.0%              69.4%
                                                                56.-0%
^adsteno

spate of1-<?fSeeBoiiom>
                                                                                      3.30 (n-10)        338(0=19)
                                                               Z80(fP5)
                                                                 56.0%                  66.0%               71.8%
 (^0-

 S<Ahof1S (SvaBattom)

                                                                Z80(a=5)               3.20 (n=tt)       3.47 (n=i3)
                                                                                         64.0%             63.4%
                                                                 56.0%

  ScalB of IS (See Bottom)
                                                                                        3.00 tn»7)        3.19 (n=1E}
                                                      lottw      233fri=3)
                                                                   4ae%                   60.0%             63.8%




   Scate dfl-S (S&e Bottom)
                                                                                        Z00(f*a«8          3J26(u=1S)
                                                                  Z20tn=5)
                                                                   44-0%                 60j0%                65.2%



   ScahofIS {Sea Botton4
                  ----------- -       nnwha*asst««Io«5na^aeBmlobe<>pea^a»7sug0e3«ion».Ma«co^Je»h*^*.'«^
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   ^fe«.ionalbm - Cateflc»YS«nint»y            Si.^
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                mmtdamwBtrateB^           l*«sntpopdallpn




        trttps:/^Arw-mycvaluatior»s.coin/Reports/A<hninymSummaiyGmup^                                               2/2S/2012
        Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 157 of 162. PageID #: 314


                                                                                                        Page 6 dm
Strafisary of


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                                          -Q pl^entc' cuSure.         SJBpin^                           a9&|n=1«
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                                                                      2.^{if>S)        3.#J(FtO)        3J9if*=nSi
                                                                       59.<0k            68.0%            7&B%

   Scz^oflS iS99-Boaom)

                                                                      3.00 (ofM)        3.44(11=3)       3.83{n»iq
                                                                       •60j)%             68jB%           ms%

    Scate <rft'5 {Soo Bottom;

                                                                       2J300»“S)         Z70(n=l0)       3.26 (n=lS)
                                                                        40.6%             54.0%            65i%




                                                                       Z80(5=S)          3.40 (npio)     3-74frT=1S)
                                                  cafBlBam
                                                                        3am,               K.0%             74.8%

    Scale of t-S fSoo Bottom)

                                                                       Z6D(n=S)          330 (0=10)       3.74 (n=19J
                                               care
                                                                        560%              66;0%             74.8%

     Scale of IS (See Bottom)

                                                                        JL2D(e=5)         3.00(n=10>      3.47|iv=iS)
     Responds poafively to cpraJrocBve oite^
                                                                         446%               60.0%           69.4%

     ■Sicafe of^SfSooBoaom)

                                                                        Z40(it=^           Z89(n=^        3.07(0=15)
      U,,dwten<fe mb ol     nn4ev. as B rctote to pnrfes^
                                                                          486%              573%            61.4%


      Scafa of f-5 ^ee Bottom)

                                                       acotsuXant        Z28<r=^          3.00 ^10)        337(nf»19)
                                                                          446%              OT.0%            87.4%


      Sc^oflSfSo^Bh^)

                                I to «vgo»gjsatosdona! daveJi^jmant       .60(0=8)         aa0(o=n<9       338(nF-ig>
                                                                           526%              eo.0%           71J6%
             KOSUtar


       Scale of IS tSeo Bottmn)
                                                                          3:(X>(nFS)       3ZD(it=l0)       33801X19)
                                                 manner
                                                                           606%              64.0%            71.6%

        Sca/a ofiS fSee Bottom)




      https•i/www.mye^^ua1io^s.com^oarts/Admia^^SummaIyC3roy^^                                                 2/2S42012
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                                                                                                  3.00 (ir-0       3J25 {n-BJ       3J2S {n-16J
                                                       aDocaSon Oral <!<»*   “*7ipromtsc                                              85.0%
                                            roaouTCO                                               60.0%            65.0%
     ptodbetA                                                           cats
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     Spate 0/1-5 fSceBoten?)
                                                                                                   a.G0ln=4>       3.33 (n=^        3.56 (n-lS)
                                        ^ aoat» P»S««»<* *"          '*®’                           6ao%            66.6%              71:2%
      oitoptexSUes

      Scale of IS (See Bottom)
                                                                                                 . 3u00l«=S)^ .\.3^(o=40>           .i47(n«W>-
                                           ^jjecSvaty^uihen appnv"*^                                60.0%          ra.0%               69.4%


       Scate off-5 (See
                                                                                                    Z80{*^          3.10(fl=«> I 3.11 {n-19}
                                                                  ore                                58.0%            62.<1%       62i%
       bfemStorvitftdi

           ^tjpaleo/1-S(See6ottw»>
                                                                                                     3.00 (fP3j       3.29 tn=7)       3.38<n=1Q
                                                          IrtJivWoo) paflerts Bn4 thetr haaBh                                            67£%
                                                                                                      0Ci.O%           65.8%




                                                                                                      3.00 (n*3>       3Ji9{nF=7>       3.19 {n=16)
                                                                                                       60.0%             65.8%            63:8%

            anollt^:



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                                    fijrlHscDn«>e»8nw.                                                  «L0%             660%             632%




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           htlps*7/www.my&valuations
         Case: 1:16-cv-02480-DCN Doc #: 25-1 Filed: 11/16/17 159 of 162. PageID #: 316


Summary of G*sup/FcJkrar Evtih^lcaiS



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